                                  Case 2:21-cv-06768 Document 1 Filed 08/20/21 Page 1 of 66 Page ID #:1



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                            BOARD OF TRUSTEES OF
                          8 THE CALIFORNIA STATE UNIVERSITY
                          9
                         10
                                                   IN THE UNITED STATES DISTRICT COURT
                         11
                                   FOR THE CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
                         12
                         13 JOHN DOE, an individual,                            Case No.
                         14
                                Plaintiff,                                      DEFENDANT’S NOTICE OF
RENNE PUBLIC LAW GROUP




                         15                                                     REMOVAL OF ACTION UNDER 28
    Attorneys at Law




                         16 v.                                                  U.S.C. § 1441(a)
                                                                                (FEDERAL QUESTION)
                         17 CALIFORNIA STATE UNIVERSITY, a
                         18 public university system and DOES 1 to 20
                            inclusive,
                         19                                                     Complaint Filed: July 12, 2021
                         20         Defendants.
                         21
                         22 TO: THE CLERK OF THE ABOVE-ENTITLED COURT:
                         23 TO: ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
                         24         PLEASE TAKE NOTICE that Defendant Board of Trustees of the California State
                         25 University (erroneously sued as “California State University” and referred to herein as
                         26 “Defendant”) hereby removes the state court action described below to the United States
                         27 District Court for the Central District of California.
                         28
                                                                          -1-
                              DEFENDANT’S NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C. § 1441(A)
                              (FEDERAL QUESTION)                         Case No.
                                  Case 2:21-cv-06768 Document 1 Filed 08/20/21 Page 2 of 66 Page ID #:2



                          1                               THE STATE COURT ACTION
                          2         1.    On July 12, 2021, an action was commenced in the Superior Court of the
                          3 State of California, in and for the County of Los Angeles, entitled John Doe v. California
                          4 State University, Los Angeles County Superior Court Case No. 21STCV25518. A true
                          5 and correct copy of the Complaint for Damages (the “Complaint”) is attached hereto as
                          6 Exhibit A.
                          7         2.    The first date upon which Defendant received a copy of said Complaint was
                          8 July 22, 2021, when Defendant was served with a copy of said Complaint and a Summons
                          9 from Los Angeles County Superior Court. A true and correct copy of the Summons is
                         10 attached hereto as Exhibit B.
                         11         3.    Defendant filed an Answer to the Complaint on or around August 19, 2021.
                         12 A true and correct copy of said Answer is attached hereto as Exhibit C.
                         13         4.    A true and correct copy of the remaining materials in the Superior Court file
                         14 are attached hereto as Exhibit D. These include: (a) Civil Case Cover Sheet and
RENNE PUBLIC LAW GROUP




                         15 Addendum; (b) Notice of Case Assignment filed July 12, 2021; (c) Notice of Case
    Attorneys at Law




                         16 Management Conference filed on July 21, 2021; (d) Proof of Service by Substituted
                         17 Service filed on July 27, 2021 showing service of the Summons on July 22, 2021; and
                         18 (e) Plaintiff’s Consent to Electronic Service and Notice of Electronic Service Address
                         19 filed August 18, 2021.
                         20                               TIMELINESS OF REMOVAL
                         21         5.    Defendant received a copy of the Complaint and Summons on July 22, 2021.
                         22 (See Exhibit D, Proof of Service of Summons.) This Notice of Removal is timely under
                         23 28 U.S.C. § 1446(b), because it is filed within 30 days after service of the Summons and
                         24 Complaint on the Defendant.
                         25                                       JURISDICTION
                         26         6.    Plaintiff’s Complaint alleges a cause of action for violation of Title IX of the
                         27 Education Amendments of 1972, 20 U.S.C. § 1681. Therefore, this action is a civil action
                         28 “arising under the Constitution, laws, or treaties of the United States” of which this Court
                                                                          -2-
                              DEFENDANT’S NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C. § 1441(A)
                              (FEDERAL QUESTION)                         Case No.
                                  Case 2:21-cv-06768 Document 1 Filed 08/20/21 Page 3 of 66 Page ID #:3



                          1 has original jurisdiction under 28 U.S.C. § 1331. See Karasek v. Regents of University of
                          2 California, 956 F.3d 1093, 1104 (9th Cir. 2020) (explaining that the “district court had
                          3 jurisdiction under 28 U.S.C. § 1331” over Title IX action removed from state court).
                          4 Accordingly, this action is removable under 28 U.S.C. § 1441(a).
                          5         7.     Pursuant to 28 U.S.C. § 1367(a), this Court has supplemental jurisdiction
                          6 over Plaintiff’s remaining state law claims for relief because they are part of the same
                          7 “case or controversy” as Plaintiff’s federal law claim.
                          8                                             VENUE
                          9         8.     The United States District Court for the Central District of California
                         10 embraces the place where the state court action is now pending (Los Angeles County).
                         11 Accordingly, removal to this district is proper pursuant to 28 U.S.C. §1441(a), which
                         12 provides that it “may be removed by the defendant or the defendants, to the district court
                         13 of the United States for the district and division embracing the place where such action is
                         14 pending.”
RENNE PUBLIC LAW GROUP




                         15
    Attorneys at Law




                         16                      NOTICE TO STATE COURT AND PLAINTIFF
                         17         9.     Defendant is filing written notice of this removal with the clerk of the state
                         18 court in which the action is currently pending, pursuant to 28 U.S.C. § 1446(d). Copies of
                         19 this Notice of Removal and the notice to the state court of this removal are being served
                         20 upon Plaintiff, pursuant to 28 U.S.C. § 1446(d).
                         21
                         22                              NO RELATED CASES PENDING
                         23         10.    To the best of Defendant’s knowledge, there are no cases presently pending
                         24 in this Court that relate to the action that is the subject of this Notice of Removal.
                         25
                         26         WHEREFORE, Defendant Board of Trustees of the California State University
                         27 hereby removes to this Court the action now pending against it in Los Angeles County
                         28 Superior Court, Case No. 21STCV25518.
                                                                           -3-
                              DEFENDANT’S NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C. § 1441(A)
                              (FEDERAL QUESTION)                         Case No.
                                 Case 2:21-cv-06768 Document 1 Filed 08/20/21 Page 4 of 66 Page ID #:4



                          1
                              Dated: August 20, 2021                       RENNE PUBLIC LAW GROUP
                          2
                          3
                                                                           By:
                          4
                                                                                 RYAN P. MCGINLEY-STEMPEL
                          5
                                                                           Attorneys for Defendant
                          6                                                BOARD OF TRUSTEES OF THE
                          7                                                CALIFORNIA STATE UNIVERSITY
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RENNE PUBLIC LAW GROUP




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    Attorneys at Law




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                              DEFENDANT’S NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C. § 1441(A)
                              (FEDERAL QUESTION)                         Case No.
Case 2:21-cv-06768 Document 1 Filed 08/20/21 Page 5 of 66 Page ID #:5




                   EXHIBIT A
          Case 2:21-cv-06768 Document 21STCV25518
                                      1 Filed 08/20/21 Page 6 of 66 Page ID #:6
                 Assigned for all purposes to: Stanley Mosk Courthouse, Judicial Officer: Theresa Traber




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 2
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     Attorneys for Plaintiff John Doe
 8
 9                             SUPERIOR COURT OF THE STATE OF CALIFORNIA
10
                         FOR THE COUNTY OF LOS ANGELES, CENTRAL DISTRICT
11
                                                                   )CaseNo.:         218TCV2551 8
12                                                                 )
     JOHN DOE, an individual,                                      )
13                                                                 )COMPLAINT FOR DAMAGES
        Plaintiff,                                 )
14                                                 )                     1) BREACH OF CONTRACT AND
     v.                                            )                        COVENANT OF GOOD FAITH
15                                                 )                        AND FAIR DEALING
     CALIFORNIA STATE UNIVERSITY, a public )                             2) PROMISSORY ESTOPPEL
16   university system and DOES 1 to 20 inclusive, )                     3) TITLE IX
                                                   )                     4) VIOLATION OF CALIFORNIA
17      Defendants.                                )                        CIVIL CODE, § 51
                                                   )                     5) NEGLIGENCE
18                                                 )
                                                                   )     JURY DEMAND
19
20
        COMES NOW PLAiNTIFF John Doe (“Plaintiff’ or “Doe”), by and through his attorneys
21
     Hathaway Parker Inc., as and for his Complaint, respectfully alleges as follows:
22
23                                               NATURE OF THIS ACTION
24      1. Plaintiff John Doe, an undergraduate student at California State University Sacramento

25   (“CSUS”) was improperly disciplined and ordered expelled in June 2018 following a Title DC sexual

26   misconduct disciplinary process that was unfair, lacked due process, did not comply with the law or

27   university policy, and where the charges were not supported by the evidence.

28      2. Therefore, John Doe filed a Petition for Writ of Mandate. While in the midst of those

                                                COMPLAINT FOR DAMAGES
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          Case 2:21-cv-06768 Document 1 Filed 08/20/21 Page 7 of 66 Page ID #:7




 1   proceedings, Defendants, the Trustees of the California State University (CSU), voluntarily set aside the
 2   findings against Doe and remanded the Title IX complaint against Doe for adjudication by CSUS. As a
 3   result, in April 2020, CSUS found Doe not responsible for sexual misconduct.
 4       3. John Doe brings this Complaint as he has been subject to discrimination as result of his
 5   gender/sex, violations of his right to due process, intentional infliction of emotional distress, and breach
 6   of contract by Defendants. Petitioner brings this action not only for his own interest, but to protect the
 7   rights of other individuals and students who have been subjected to wrongful and unfair disciplinary
 $   proceedings at California State University, CSUS, and other institutions of higher learning. Plaintiff
 9   alleges further:
10                                                 THE PARTIES
         4. Plaintiff JOHN DOE was, at all times relevant, an undergraduate student at California State
12   University, Sacramento.
13       5. Defendant THE CALIFORNIA STATE UNIVERSITY (“Cal State” or “CSU”), is a public
14   university system of the State of California that operates some 23 university campuses and eight off-
15   campus centers enrolling some 485,550 students with 56,000 staff and faculty. CSU is the largest four-
16   year public university system in the United States and is one of three public higher education systems in
17   California, with the other two being the University of California system and the California Community
     Colleges System. The CSU system is operated and governs through its 25-member board of trustees and
19   is headquartered in Long Beach, California.
20      6. Non-party JANE ROE at all times relevant was an undergraduate student at California State
21   University, Sacramento.
22      7. Plaintiff uses the pseudonym of John Doe in his petition to preserve privacy in a matter involving
23   student discipline and records protected under the Family Educational Rights and Privacy Act (FERPA)
24   and a matter of sensitive and highly personal nature, which outweighs the public’s interest in knowing
25   the parties’ identity. Use of the pseudonyms does not prejudice Respondents because the identity of
26   Petitioner is known to Respondents. (See, FERPA, 20 U.S.C.      § 1232g; 34 CFR Part 99; Starbucks Corp.
27   v. Superior Court   (2008) 68 Cal.App.4th 1436 [“The judicial use of ‘Doe plaintiffs’ to protect legitimate
28   privacy rights has gained wide currency, particularly given the rapidity and ubiquity of disclosures over

                                          COMPLAINT FOR DAMAGES
                                                     2
           Case 2:21-cv-06768 Document 1 Filed 08/20/21 Page 8 of 66 Page ID #:8




 1   the World Wide Web”]; see also Doe v. City of Los Angeles (2007) 42 Cal.4th 531; Johnson v. Superior
 2   Court (2008)80 Cal.App.4th 1050; Roe v. Wade (1973) 410 U.S. 113; Doe v. Bolton (1973) 410 U.S.
 3   179; Poe v. Ultman (1961) 367 U.S. 497; In Does I thru XXIII v. Advanced Textile Corp. (9th Cir. 2000)
 4   214F.3d 105$.)
                                         JURISDICTION AND VENUE

 6       8. This Court has personal jurisdiction over Defendants because Defendants are located in
 7   California and because the transactions described in this Complaint took place in California.
 8          Venue is proper in the Los Angeles Superior Court because the Defendant California State
 9   University is located in the County of Los Angeles. (Code Civ. Proc.,   § 395.)
10
11                       GENERAL ALLEGATIONS COMMON TO ALL CLAIMS
12   I. SUMMARY Of CSUS’S INVESTIGATION AND ADJUDICATION POLICIES.
13       10. CSU$ implements federal and state law and OCR guidance regarding student-on-student sexual
14   misconduct through a series of Executive Orders issued by Respondent Timothy P. White.
15       11. As of October 2017, through June 2018, the University had at least six (6) relevant sources of
16   written policies and procedures for the handling of allegations of sexual assault and related offenses:
17              a. Executive Order 1095 (June 23, 2015), regarding Implementation of Title IX,
                   VAWA/Campus SAVE Act, and Related Sex Discrimination, Sexual Harassment and
18
                   Sexual Violence Legislation (EO 1095 (2015));
19              b. Executive Order 1096 (October 5, 2016), Systemwide Policy Prohibiting Discrimination,
20                 Harassment, Retaliation, Sexual Misconduct, Dating and Domestic Violence, and
                   Stalking against Employees and Third Parties and Systemwide Procedure for Addressing
21                 Such Complaints by Employees and Third Parties (EO 1096 (2016);
22              c. Executive Order 1097 (October 5, 2016), the $ystemwide Policy Prohibiting
                   Discrimination, Harassment and Retaliation Against Students and $ystemwide Procedure
23                 for Handling Discrimination, Harassment and Retaliation Complaints by Students (EO
                   1097 (2106));
24
                d. Executive Order 109$ (June 23, 2015), outlining student conduct procedures (EO 109$
25                 (2015));
26              e. Title 5, California Code of Regulations; and
27
28

                                          COMPLAINT FOR DAMAGES
                                                     3
           Case 2:21-cv-06768 Document 1 Filed 08/20/21 Page 9 of 66 Page ID #:9




 1              f.   the University’s website.1

 2
         A. EXECUTIVE ORDERS 1098 AND 1097.
 3
         12. The Student Conduct Procedures pertaining to allegations of sexual misconduct are generally
 4
     contained in Executive Order 1098 (2015), Article IV.
 5
         13. Complaints by Students against Students are to investigated according to the procedures set forth
 6
     in Executive Order 1097 (2016).
 7
         B. CALIFORNIA STATE UNIVERSITY TITLE IX INVESTIGATION PROCESS.
 8
         14. CSUS does not rely upon sworn law enforcement officers or licensed private investigators to
 9
     investigate allegations of rape or other serious student-on-student sexual violence and misconduct.
10
     However, California’s statutory scheme for regulating the conduct and qualifications of investigators
11
     requires licensing for “[A] person.. .who, for any consideration whatsoever.         .   .   engages in business or
12
     accepts employment to furnish, or agrees to make, or makes, any investigation for the purpose of
13
     obtaining, information with reference to:
14
                     (a) Crime or wrongs done or threatened against the United States of America or any state
15
                         or territory of the United States of America.
16
                         (b) The identity, habits, conduct, business, occupation, honesty, integrity, credibility,
17                          knowledge, trustworthiness, efficiency, loyalty, activity, movement, whereabouts,
                             affiliations, associations, transactions, acts, reputation, or character of any person.
18
19                   .
                          .(e) Securing evidence to be used before any court, board, officer, or investigating
                            committee.
20
21       15. “No person shall engage in the business of a private investigator.., unless that person has applied

22   for and received a license to engage in that business pursuant to this chapter.” Bus. & Prof. Code              §
23   7523(a).

24       16. According to the State of California’s Bureau of Security and Investigative Services, to be

25   eligible to apply for licensure as a private investigator, applicants must undergo a criminal history

26   background check through the California Department of Justice (DOJ) and the Federal Bureau of

27   Investigation (FBI) and have at least three years (2,000 hours each year, totaling 6,000 hours) of

28
         https ://www.csus.edu/sexualviolence/
                                        COMPLAINT FOR DAMAGES
                                                   4
               Case 2:21-cv-06768 Document 1 Filed 08/20/21 Page 10 of 66 Page ID #:10




     1   compensated experience in investigative work, have a law degree or completed a four year course in
 2       police science plus two years (4,000 hours) of experience; or have an associate’s degree in police
 3       science, criminal law, or justice and 2 ½ years (5,000 hours) of experience. Applicants are also required
 4       to pass a two-hour multiple-choice examination covering laws and regulations, terminology, civil and
 5       criminal liability, evidence handling, undercover investigations and surveillance.2
 6             17. CSUS placed the entire responsibility for the investigation, prosecution, fact-finding, and
 7       adjudication in the hands of non-sworn, non-licensed individuals who act as police, prosecutor, and
 $       judge without a hearing.
 9             18. This dual or triple role of a single person investigating complaints and presenting or prosecuting
10       the case on behalf of the University and also adjudicating responsibility or guilt, creates a potential
11       conflict that can deprive complainants and respondents of an adequate, reliable, and impartial
12       investigation. Such arrangements have been discouraged by the U.S. Department of Education, Office
13       for Civil Rights and the U.S. Department of Justice Civil Rights Division. Colleges and university are to
14       ensure that individuals who play a role in receiving, investigating, and processing student complaints of
15       sex-based harassment do not have any actual or perceived conflicts of interest in the process. (See,
16       University ofMontana, DOJ Case No. DJ 169-44-9, OCR Case No. 10126001, May 9, 2013.)
17             19. CSUS asserts, however, that it is committed to the well-being and rights of person reporting the
1$       assault, while ensuring due process for the accused.
19             20. Under Executive Order 109$, Article IV, the Title IX Coordinator (or designee) is responsible
20       for investigating complaints of sexual misconduct.
21             21. In accordance with EO 1097 (2016), the Title DC Coordinator investigates Complaints,
22       determines whether a Student violated the Student Conduct Code, and prepares a report that includes
23       findings of facts and conclusions about whether the Student violated the Student Conduct Code.
24             22. All investigations and reviews are to be conducted impartially and in good faith.
25             23. The Complainant and the Respondent shall have equal opportunities to present relevant
26       witnesses and evidence in connection with the investigation.
27
28
           2
               http://www.bsis.ca.gov/forms_pubs/pi_fact. shtml
                                             COMPLAINT FOR DAMAGES
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         Case 2:21-cv-06768 Document 1 Filed 08/20/21 Page 11 of 66 Page ID #:11




 1       24. Before reaching a final conclusion or issuing a final investigation report, the Investigator shall
 2   have: a) advised the Parties, or have offered to do so, verbally or in writing, of any evidence upon which
 3   the findings will be based; and, b) given the Parties an opportunity to respond to the evidence, including
 4   presenting further relevant evidence, information or arguments that could affect the outcome.
 5       25. The Investigator will not reach a final conclusion or issue an investigation report until giving
 6   careful consideration to any such relevant evidence, information or arguments provided by the Parties.
 7   The Investigator retains discretion and authority to determine relevance.
 $       26. Both the Complainant and Respondent shall have the right to identify witnesses and other
 9   evidence for consideration; however, the investigator shall decide what evidence is relevant and
10   significant to the issues raised.
11       27. Within the investigation period stated above, the investigator shall prepare an investigation
12   report. The report shall include a summary of the allegations, the investigation process, the
13   Preponderance of the Evidence standard, a detailed description of the evidence considered, and
14   appropriate findings. Relevant exhibits and documents, if any, shall be attached to the written report.
15   The report shall be promptly provided to the DHR [(“Discrimination, Harassment, and Retaliation”)]
16   Administrator or Title IX Coordinator, if applicable. The DHR Administrator or Title IX Coordinator
17   shall review the investigation report to assure compliance with this Executive Order before proceeding
1$   further.
19       28. The Chancellors executive orders have no specific provision for the presumption of innocence of
20   the accused student, however, federal law, state law, and OCR guidance require the University to accord
21   students due process,3 which means that the University must have in place procedures that protect the
22   due process rights of all parties and that the University bears the burden to produce “reliable, probative
23   and substantial evidence” that the accused student, who must be presumed innocent, is responsible for
24   the alleged violation, based on the weight or preponderance of the substantial evidence.
25       29. Within 10 Working Days of issuance of the final investigation report, the DHR Administrator or
26   Title IX Coordinator shall notify the Complainant and Respondent in writing of the outcome of the
27
2$
          2001 Guidance at p. 22.
                                          COMPLAINT FOR DAMAGES
                                                     6
         Case 2:21-cv-06768 Document 1 Filed 08/20/21 Page 12 of 66 Page ID #:12




 1   investigation. The notice shall include a summary of the allegations, the investigative process, the
 2   Preponderance of the Evidence standard, the evidence considered, the findings of fact, a determination
 3   as to whether this Executive Order was violated, and if so, any Remedies to be afforded to the
 4   Complainant (such as an order that the Accused not contact the Complainant).
 5       30. The notice shall advise the Complainant and Respondent of their right to file an appeal of the
 6   findings and to request a copy of the final investigation report with exhibits/attachments, if any, redacted
 7   as appropriate.
 $        C. APPEAL OF THE INVESTIGATORS OPINIONS.
 9       31. A student may appeal the findings of the Title IX Coordinator. Instructions for appealing
10   determinations made by the Title TX Coordinator are contained in EO 1097 (2016).
11       32. EO 1097 (2016), Article IV provides, “Any Complainant or Respondent who is not satisfied with
12   a Campus investigation outcome may file an appeal with the CO [Office of the Chancellor] no later than
13   10 Working Days after the date of the Notice of Investigation Outcome.”
14       33. The appeal must be in writing and must be based on one or more of the following limited appeal
15   grounds: (1) The investigation outcome is unsupported by the evidence, based on the Preponderance of
16   the Evidence standard; (2) Prejudicial procedural errors impacted the investigation outcome to such a
17   degree that the investigation did not comply with this Executive Order; or (3) New evidence not
1$   available at the time of the investigation.
19       34. The issues and evidence raised on appeal shall be limited to those raised and identified during thc
20   investigation, unless new evidence becomes available after the Campus investigation process and is
21   made part of the appeal by the appealing party.
22      35. The CO may conduct an interview, at the CO’s discretion, with the appealing party to clarify the
23   written appeal.
24      36. The CO review will not involve a new investigation by the CO and will not consider evidence
25   that was not introduced during the Campus investigation, unless the new evidence was not available at
26   the time of the Campus investigation process.
27      37. If the CO review determines the investigation should be reopened to cure any defects in the
28   investigation and/or consider new evidence introduced for the first time on appeal (that could have

                                           COMPLAINT FOR DAMAGES
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         Case 2:21-cv-06768 Document 1 Filed 08/20/21 Page 13 of 66 Page ID #:13




 1   affected the investigation determination), the investigation will be remanded back to the Campus and the
 2   investigation reopened at the Campus level.
 3       38. If an appeal is filed, the investigative findings do not become final until the appeal has been
 4   exhausted.
 5       39. The findings and conclusions of investigations conducted in accordance with EO 1097 (2016),
 6   once any appeals are exhausted, are final and binding.
 7       40. Unless the Chancellor’s Office notifies the Campus that an appeal has been filed, investigative
 $   findings become final 11 working days after the date of the Notice of Investigation Outcome.
 9       D. CONFERENCE WITH THE STUDENT CHARGED.
10       41. Within 10 Working Days after the Student Conduct Administrator receives the final investigation
11   report   —   or, if an appeal was filed, the final appeal outcome   —   and after the Complainant has been given
12   10 Working Days to have a Conference with the Student Conduct Administrator, the Student Conduct
13   Administrator shall notify the Student charged in writing that a conference has been scheduled or that
14   the Student is directed to promptly schedule a conference with the Student Conduct Administrator.
15      42. The conference requirement is waived if the Student or Complainant(s) fails to attend the
16   conference or otherwise declines to cooperate.
17       E. HEARING ON SANCTIONS.
18      43. If the matter is not resolved at the conference, the Student Conduct Administrator shall issue a
19   Notice of Hearing promptly after the conference. Simultaneous notice shall also be provided to the
20   Complainant and the Title IX Coordinator. The Notice of Hearing shall be issued within 5 Working
21   Days after the conference has concluded.
22      44. The hearing is limited to determining appropriate sanctions; the findings of the investigation are
23   not under review.
24      45. The Student Conduct Administrator shall schedule the hearing promptly, but in any event no
25   sooner than 10 Working Days after, and no later than 20 Working Days after, the date of the Notice of
26   Hearing.
27      46. The Hearing Officer controls the hearing. The Student Conduct Administrator and the Student
28   charged each put on the evidence in their case and may each ask questions of the witnesses in whatever

                                              COMPLAINT FOR DAMAGES
                                                         8
          Case 2:21-cv-06768 Document 1 Filed 08/20/21 Page 14 of 66 Page ID #:14




 1   manner the Hearing Officer deems appropriate.
 2       47. The Hearing Officer shall make an official audio recording of the hearing (with assistance, at the
 3   Hearing Officer’s discretion). The recording is University Property. No other recording of the hearing is
 4   permitted. The audio recording shall be retained by the Student Conduct Administrator in accordance
 5   with the Campus records/information retention and disposition schedule.
 6       48. The Hearing Officer shall submit a written report to the president recommending sanctions, if
 7   any, as well as any recommendations regarding additional remedies, including but not limited to
 8   restricting the Student’s contact with, or physical proximity to, the Complainant or other persons. The
 9   report shall include any mitigating or aggravating factors relied upon by the Hearing Officer in reaching
10   the recommendations. The report shall be submitted within 10 working days after the hearing.
11       49. The Hearing Officer’s report shall be based only on the investigative report and the information
12   received at the hearing. The Hearing Officer shall not, prior to preparing the report, have substantive
13   communications about the facts of the case with the Student Conduct Administrator, the Complainant,
14   the Student, the witnesses, or the Title TX Coordinator, unless both the Student Conduct Administrator
15   and the Student are present.
16        F. PRESifiENT’S SANCTION DECISION.
17       50. The president shall review the investigative report and the Hearing Officer’s report and issue a
18   decision concerning the appropriate sanction. The president may impose the recommended sanctions,
19   adopt a different sanction or sanctions, or reject sanctions altogether.
20       51. Unless the CO notifies the campus that an appeal has been filed, the president’s sanction decision
21   becomes final 11 Working Days after the date of the decision letter.
22       G. APPEAL OF SANCTIONS.
23       52. The Complainant and Student charged each may file an appeal of the president’s decision of
24   appropriate sanctions to the Chancellor’s Office no later than 10 Working Days after the date of the
25   president’s decision letter.
26       53. The Complainant may also appeal any proposed sanctions agreed to as part of a proposed
27   resolution agreement with the Student charged either in the conference procedure described above or at
2$   any time thereafter. Such an appeal must be filed within 10 Working Days after the date of notice to the

                                          COMPLAINT FOR DAMAGES
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         Case 2:21-cv-06768 Document 1 Filed 08/20/21 Page 15 of 66 Page ID #:15




 1   Complainant of the proposed resolution agreement.
 2       54. The CO shall issue a final appeal response to the parties, the DHR Administrator or Title DC
 3   Coordinator, and the campus president (or designee) no later than 10 Working Days after receipt of the
 4   written appeal unless the timeline has been extended.
 5       55. The CO Appeal Response shall include a summary of the issues raised on appeal, a summary of
 6   the evidence considered, the determination(s) reached regarding the issues identified within the written
 7   appeal, a decision about whether the president’s sanction decision is reasonable, and, where applicable,
 $   decision regarding the final sanction.
 9       56. Administrative remedies are exhausted once the CO renders a decision regarding a respondent’s
10   appeal of the sanctions.
11   II. ALLEGATIONS MADE BY JOHN DOE AND JANE ROE.
12      A. CSUS’S PROCEEDINGS AGAINST DOE.
13               1. Doe and Roe Have Sex In Doe c Dorm Rooim
14       57. Plaintiff, John Doe, and the complainant in the underlying administrative proceeding, Jane Roe,
15   were both first-year students at CSUS in the Fall of 2017.
16      58. On October 5, 2017, Jane Roe, John Doe, Doe’s roommate, and the roommate’s girlfriend went
17   to a party at the Sigma Phi Epsilon fraternity. Doe’s roommate became intoxicated and belligerent and
1$   had to be taken back to his dormitory by his girlfriend and Jane Roe, while Doe stayed at the fraternity.
19   After putting Doe’s roommate to bed, the roommate’s girlfriend left, and Jane Roe decided to sleep in
20   Doe’s bed, reasoning, “I did all this for his best friend, and he’s not here; so I’m just going to sleep in
21   his bed.”
22      59. Doe returned to his dormitory shortly thereafter and found Roe in his bed, so he made a bed for
23   himself on the floor.
24      60. Roe told Doe, “ft’s your bed. You don’t have to sleep on the floor,” and Roe insisted that Doe
25   get into the bed with her. When Doe got into the bed, Roe “rolled toward him,” and he asked her if she
26   wanted to have sex. She said, “Yes,” and they had sex and then fell asleep.
27      61. The following day, however, Roe claimed to other students that the night before she “woke up to
28   find [Doe] on top of her having vaginal intercourse with her.” Roe maintained that she was not

                                           COMPLAINT FOR DAMAGES
                                                     10
         Case 2:21-cv-06768 Document 1 Filed 08/20/21 Page 16 of 66 Page ID #:16




 1   incapacitated by alcohol but was asleep until she woke up to Doe already having sexual intercourse with
 2   her on her back. Roe claimed she was “was in shock” but did not say anything as the sexual intercourse
 3   continued, and at some point, she said she simply fell asleep again.
 4       62. Roe continued to spend time at Doe’s fraternity where she knew Doe would be present after the
 5   sexual activity. When Doe learned that Roe did not believe their sexual encounter had been consensual,
 6   he discussed the encounter with his fraternity president and attempted to have a mediated discussion
 7   with Roe. The fraternity president informed the fraternity’s Chapter Counselor of the report made by
 8   Doe, and the Chapter Counselor reported the incident to CSUS’s Title DC office.
 9              2. CSUS Investigates Under EQ 1097R and Expels Doe.
10       63. On October 20, 2017, attorney Alison Nygard (SBN 276034), Investigator and Deputy Title IX
11   Coordinator in CSUS’s Office for Equal Opportunity and Diversity, advised Doe of a report of sexual
12   misconduct and sexual harassment identifying Doe as the respondent. Nygard informed Doe that she
13   would investigate the allegations pursuant to EO 1097R. Doe was suspended from his fraternity
14   pending the outcome of the investigation.
15       64. During the investigation, Alison Nygard interviewed Jane Roe, Doe’s roommate, Doe’s
16   roommate’s girlfriend, and the fraternity president. Doe attended an investigation interview but declined
17   to make a statement on the advice of his attorney advisor, given the serious criminal allegations leveled
18   by Jane Roe and Roe’s filing of a police report against Doe with the Sacramento Police Department.
19      65. On February 15, 2018, Alison Nygard found that Doe violated EO 1097R for Sexual Misconduct
20   and Sexual Harassment and the Student Conduct Code       § 41301(b)(16), which prohibits any student from
21   violating “any published University policy, nile, regulation, or presidential order.”
22      66. On March 1, 2018, Doe appealed the findings.
23      67. On April 2, 2018, Doe’s Appeal was denied.
24      62. On May 4, 2018, a hearing was held to determine the sanctions against Doe, with the
25   “recommended sanction” being expulsion from CSU. The Hearing Officer upheld the recommended
26   sanction of expulsion.
27      69. On May 23, 2018, the President’s designee approved the sanction of expulsion.
28      70. On May 24, 2018, the District Attorney’s Office declined to pursue charges against Doe based

                                          COMPLAINT FOR DAMAGES
                                                    11
         Case 2:21-cv-06768 Document 1 Filed 08/20/21 Page 17 of 66 Page ID #:17




 1   on a lack of sufficient evidence.
 2       71. On June 7,2018, Doe submitted an appeal of the sanctions.
 3       72. On June 20, 2018, Doe’s appeal of the sanction was denied, and Doe exhausted his
 4   administrative remedies.
 5               3. Doe Petitions for Writ OfMandamus.
 6       73. On August 29, 2018, Doe filed a Petition for Writ of Mandamus to redress the improper
 7   administrative action. (Doe v. White et al., Los Angeles Superior Court, Case No. BS 174934.)
 8       74. On September 26, 2018, CSU filed its Answer to Petition for Writ of Mandamus, praying for the
 9   Court to deny the Petition for Writ of Mandate, including the request for an order declaring CSU’s
10   policy unenforceable, and for the Petition to be dismissed.
11              4. CSURe-Opens In vestigation and finds Doe Not Responsible.
12       75. On December 10, 2018, in response to “new legal developments,” CSU’s Vice President for
13   Student Affairs, Edward E. Mills, and Director of Equal Opportunity, attorney William “Skip” Bishop
14   (SBN 232251), unilaterally re-opened the investigation into Jane Roe’s complaint for “further
15   processing” and to “ensure a fair investigatory process.”
16       76. The proposed investigation would allow each party to submit questions for the investigator to as1
17   the other party during the investigation. Doe was given just five business days to submit a proposed list
18   of questions to the investigator. Doe was also told that the investigator could choose not to ask Doe’s
19   questions or rephrase the questions Doe submitted. No record would exist of the questions asked and
20   the answers as the interviews are not recorded in any manner. The investigator would then “take the
21   additional information obtained from both parties during the question submittal process and prepare a
22   revised ‘Summary of Evidence’ before making any findings.” The investigator would then make
23   findings without a hearing.
24      77. On January 14, 2019, Doe was informed by William “Skip” Bishop that the process would be
25   further delayed due to another court decision, which “will likely change the procedures that the CSU
26   must use to reach a finding in this matter.”
27      78. Doe received no further communication until August 7, 2019, when he was informed by William
28   “Skip” Bishop, “The re-opened investigation concerning the above-referenced complaint has

                                          COMPLAINT FOR DAMAGES
                                                    12
         Case 2:21-cv-06768 Document 1 Filed 08/20/21 Page 18 of 66 Page ID #:18




 1   concluded,” and, “This matter will now proceed to a hearing.”
 2       79. No additional investigation was actually performed.
 3       80. On August 9, 2019, William “Skip” Bishop emailed Doe, “The investigation concerning the
 4   above-referenced complaint has concluded. You now have the opportunity to meet with me to discuss
 5   the hearing process.” Only then was Doe provided a copy of the March 1, 2019 EO 1097 and the Final
 6   Investigation Report and Exhibits. New exhibits included the results from the hearing conducted on
 7   May 4,2018 deciding that Doe should be expelled, and the CSU Chancellor’s Office’s June 20, 2018
 $   Appeal Response, rejecting Doe’s appeal of the expulsion sanctions. By including these documents in
 9   the “new” investigation report, CSUS was improperly signaling to the hearing officer that Doe should be
10   found responsible for sexual misconduct.
11       81. A hearing was held on April 3, 2020.
12       82. On April 20, 2020, Doe was found not responsible for sexual misconduct.
13       $3. On May 8, 2020, Jane Roe appealed the hearing officer’s decision.
14       $4. On June 17, 2020, CSU’s Chancellor’s Office denied Jane Roe’s appeal.
15       85. On September 4, 2020, Doe filed a claim against CSUS and Timothy P. White based on CSU’s
16   improper Title DC process.
17       86. On January 12, 2021, Defendant rejected Petitioner’s claim.
18       87. Doe has exhausted all administrative remedies and avenues for relief prior to bringing this
19   litigation.
20
                                            FIRST CAUSE OF ACTION
21                                              Breach of Contract
22                                               (Defendant CSU)

23       $8. Plaintiff repeats and re-alleges each and every allegation hereinabove as if fully set forth herein.

24       89. It is well established that the basic relationship between a student and a university is contractual

25   in nature. Kashmiri v. Regents of Univ. of California, 156 Cal. App. 4th 809 (2007), as modfied (Nov.
     15, 2007), as modified (Nov. 28, 2007). “[B]y the act of matriculation, together with payment of
26
     required fees, a contract between the student and the institution is created....” Id. (internal citations
27
     omitted).
28

                                           COMPLAINT FOR DAMAGES
                                                     13
             Case 2:21-cv-06768 Document 1 Filed 08/20/21 Page 19 of 66 Page ID #:19




     1       90. Although “[c]ourts have applied contract law flexibly to actions involving academic and
 2       disciplinary decisions    ...   [cJourts have, however, not been hesitant to apply contract law when the
 3       educational institution makes a specific promise to provide an educational service.” Id. at $25 (emphasis
 4       added).
 5           91. C$U$ s investigative process is controlled by written policies and procedures as set forth above.
                        ‘




 6           92. At all times relevant hereto, a contractual relationship existed between CSUS and Plaintiff
 7       through CSUS’s policies and procedures governing the student disciplinary system.
 8           93. Through the documents they publish and provide to their students, C$US and CSU make express
 9       contractual commitments to students involved in the disciplinary process.
10           94. Specifically, through EO 1097, Defendant CSU promised that it did not tolerate discrimination
11       “because of any Protected Status: i.e., age, Disability (physical and mental), Gender (or sex), Gender
12       Identity (including transgender), Gender Expression, Genetic Information, Marital Status, Medical
13       Condition, Nationality, Race or Ethnicity (including color or ancestry), Religion (or Religious Creed),
14       Sexual Orientation, sex stereotype, and Veteran or Military Status.”
15           95. CSUS’s Title IX Coordinator must coordinate compliance with Title IX; VAWA/Campus SaVE
16       Act; and other related state and federal laws prohibiting Discrimination, Harassment and Retaliation
17       based on Gender or sex, including Sex Discrimination, Sexual Harassment, Sexual Misconduct,
18       Domestic Violence, Dating Violence, and Stalking. (See Executive Order 1095 Revised).
19           96. EO 1097 also sets forth Defendant CSU promise that the “investigation shall be completed no
20       later than 60 Working Days after the intake interview, unless the timeline has been extended pursuant to
21       Article V.E. The timeline should not extend for a period longer than an additional 30 working days from
22       the original due date.”
23          97. EO 1097 and the other policies set forth above are/were available for review by students and/or
24       potential students on CSUS’s website.
25          98. CSUS further created an implied promise to its potential students and students, including
26       Plaintiff, that so long as a student abides by CSUS’s policies and procedures, completes all necessary
27       degree requirements, and attains satisfactory grades, the student will graduate on his/her expected
28       graduation date. CSUS has specific degree requirements listed on the website for each academic

                                                  COMPLAINT FOR DAMAGES
                                                            14
          Case 2:21-cv-06768 Document 1 Filed 08/20/21 Page 20 of 66 Page ID #:20




 1   program, which is accessible to students and prospective students.
 2       99. CSUS further created an implied promise to its potential students and students, that they would
 3   be treated fairly in all disciplinary and administrative proceedings.
 4       100.    At all relevant times, Plaintiff was aware of C$US’s policies, procedures, and promises as set
 5   forth above.
 6       101.    Plaintiff applied to and chose to enroll in CSUS for which all associated tuition, fees, and
 7   expenses were paid in exchange for a commitment to his academic program.
 $       102.    Plaintiff did so in reliance on his understanding, and with the reasonable expectation that
 9   CSUS would adhere to its stated policies, including its policies related to the adjudication of misconduct
10   matters as set forth above, and would implement and enforce all of its policies as set forth in its official
11   publications, including those listed on its website.
12       103.    Plaintiff abided by all CSUS policies and procedures, took all necessary courses, and attained
13   satisfactory grades.
14       104.    Plaintiff did so in reliance upon the promise of a degree and diploma upon completion of the
15   degree requirements for his chosen major.
16       105.    Based on the foregoing, CSUS and CSU created express and implied contracts with Plaintiff.
17       106.    Plaintiff fulfilled and performed his contractual duties to C$U$ under the University’s
18   policies by providing C$U$ with required tuition and fees, enrolling in, and attending classes and
19   completing research and work assignments at all times during when events in this Complaint occurred.
20   Plaintiff, to the extent permitted by Defendants, participated in the investigation and reviewed evidence,
21   presented witnesses on his own behalf, supported his own allegation of sexual assault, and showed the
22   falsity of the allegations against him.
23       107.    C$U$ breached the terms of its agreement as set forth above when it treated Doe differently
24   based solely upon his gender.
25       108.   CSUS promised Plaintiff that his claim and the claim against him would be conducted by a
26   neutrallunbiased factfinder. CSUS breached that agreement when it assigned Alison Nygard to
27   investigate Jane Roe’s claims, as she was not a neutral/unbiased factflnder. Alison Nygard improperly
28   Doe responsible for sexual misconduct when such a finding was not supported by a preponderance of

                                           COMPLAINT FOR DAMAGES
                                                     15
         Case 2:21-cv-06768 Document 1 Filed 08/20/21 Page 21 of 66 Page ID #:21




 1   evidence.
 2       109.     CSU$ breached its agreement with Doe when it accepted Alison Nygard’s determination,
 3   which was not based upon the preponderance of the evidence.
 4       110.     CSUS breached its agreement with Doe when it held a sanctions hearing in which the
 5   outcome was pre-determined.
 6       111.     CSUS further breached the agreement by imposing on Doe the harshest sanction possible,
 7   expulsion from CSU, when the evidence did not support Alison Nygard’s findings.
 8       112.     Defendant breached its contract with Doe by failing to provide Doe due process before
 9   expelling him from CSUS in June 2018.
10       113.     CSUS breached its agreement with Doe when it permitted the investigation into the
11   complaint against him to linger well beyond the 60 business day time limit and the additional 30 day
12   extension.
13       114.     In addition to violating the terms of its own Policies, CSUS violated the covenant of good
14   faith and fair dealing implied in every contract, which implicitly guaranteed that any proceedings would
15   be conducted with due process and fairness.
16       115.     Based on the aforementioned facts and circumstances, Defendants breached express and/or
17   implied agreement(s) with Plaintiff.
18       116.     Defendant CSU committed multiple breachesof its agreements with Plaintiff during the
19   investigation and adjudication process, including, without limitation, discriminating against Plaintiff
20   based upon his gender; holding Plaintiff to a different standard than the female complainant, Jane Roe;
21   manipulating the evidence; expelling Doe despite no showing of any hostile environment on campus;
22   not holding a hearing where the reporting party could be examined; and holding a sanctions hearing in
23   which the outcome was pre-determined.
24       117.     Plaintiff has suffered and continues to suffer the loss of enjoyment of his experience as
25   student as a result of the unreasonable delay and the interference with his right to participate in his
26   educational programs and activities at CSUS. Plaintiff also suffered as he rejected offers by other
27   universities when he accepted CSU$’s offer.
28       118.     C$U$’s administrative process affected Doe’s right to complete his degree and his

                                            COMPLAINT FOR DAMAGES
                                                      16
             Case 2:21-cv-06768 Document 1 Filed 08/20/21 Page 22 of 66 Page ID #:22




     1   fundamental rights under Title IX for access to his education programs and activities.
 2           119.    As a direct and foreseeable consequence of the foregoing breaches, Plaintiff sustained
 3       damages, including, without limitation, reputational damage, loss of educational and career
 4       opportunities, economic injuries, counsel fees, court costs, and other direct and consequential damages.
 5           120.    As a result of the foregoing, Plaintiff is entitled to damages in an amount to be determined at
 6       trial, plus prejudgment interest.
 7
                                              SECOND CAUSE OF ACTION
 8                                                Promissory Estoppel
 9                                                  (Defendant CSU)

10           121.    Plaintiff repeats and re-alleges each and every allegation hereinabove as if fully set forth
         herein.

12           122.    CSUS and CSU’s various policies constitute representations and promises that CSU$ should

13       have reasonably expected to induce action or forbearance by Plaintiff.

14           123.    CSUS expected or should have reasonably expected Plaintiff to accept its offer of admission,

15       incur expenses, and choose not to attend other colleges based on its express and implied promises that

16       CSUS would not discriminate against Plaintiff and would not deny him his procedural rights should he
         be investigated for an alleged violation of the University’s policies.
17
18           124.    Plaintiff relied to his detriment on these express and implied promises and representations
         made by CSU$.
19
             125.    Based on the foregoing, CSUS is liable to Plaintiff based on estoppel.
20
21           126.    As a direct, reasonable and foreseeable consequence of these breaches, Plaintiff sustained

22       damages, including without limitation, reputational damage, loss of educational and career

23       opportunities, economic injuries, counsel fees, court costs, and other direct and consequential damages.

24           127.   As a result of the foregoing, Plaintiff is entitled to damages in an amount to be determined at

25       trial, plus prejudgment interest.

26                                            THIRD CAUSE OF ACTION
27                                                Violation of Title IX
                                                    (Defendant CSU)
28
             128.   Plaintiff repeats and re-alleges each and every allegation hereinabove as if fully set forth
                                              COMPLAINT FOR DAMAGES
                                                        17
         Case 2:21-cv-06768 Document 1 Filed 08/20/21 Page 23 of 66 Page ID #:23




 1   herein.
 2       129.     “Title IX prohibits all discrimination on the basis of sex.” Sheppard v. Visitors of Va. State
 3   Univ., 993 F.3d 230 (4th Cir. 2021).
 4       130.     Defendant CSU unlawfully expelled Doe because of his male gender.
 5       131.     Title DC of the Education Amendments of 1972 provides, in relevant part, that: “No person in
 6   the United States shall, on the basis of sex, be excluded from participation in, be denied the benefits of,
 7   or be subjected to discrimination under any education program or activity receiving Federal financial
 8   assistance.”
 9       132.    Title IX of the Education Amendments of 1972 applies to all public and private educational
10   institutions that receive federal funding, which includes Defendant CSU.
11       133.    Both the Department of Education and the Department of Justice have promulgated
12   regulations under Title DC that require a school to “adopt and publish grievance procedures providing for
13   the prompt and equitable resolution of student and employee complaints alleging any action which
14   would be prohibited by” Title DC or regulations thereunder. 34 C.F.R.       § 106.8(b) (Dep’t of Education);
15   28 C.F.R.   § 54.135(b) (Dep’t of Justice).
16       134.    In 2001, the Office for Civil Rights issued the “Revised Sexual Harassment Guidance:
17   Harassment of Students by School Employees, Other Students, or Third Parties” (the “2001 Guidance”)
1$   pursuant to the Administrative Procedure Act’s notice and comment rulemaking.
19       135.    According to the 2001 Guidance, the procedures adopted by a school covered by Title DC
20   must not only “ensure the Title DC rights of the complainant,” but must also “[accord] due process to
21   both parties involved...” (Id. at 22.)
22       136.    The “prompt and equitable” procedures that a school must implement include, at a minimum:
23                   a. “Notice.   .   .   of the procedure, including where complaints may be filed”;
24
                     b. “Application of the procedure to complaints alleging [sexualJ harassment...”;
25
                     C.   “Adequate, reliable, and impartial investigation of complaints, including the
26                        opportunity to present witnesses and other evidence”;

                           Designated and reasonably prompt timeframes for the major stages of the
28                        complaint process”; and

                                               COMPLAINT FOR DAMAGES
                                                         18
          Case 2:21-cv-06768 Document 1 Filed 08/20/21 Page 24 of 66 Page ID #:24




                     e. “Notice to the parties of the outcome of the complaint.   . .“   (Id. at 20.)

 2       137.    A school also has an obligation under Title IX to ensure that all employees involved in the

 3   investigation and adjudication process have “adequate training as to what conduct constitutes sexual

 4   harassment, which includes ‘alleged sexual assaults.” (Id. at 20.) Further, Title DC Coordinators should

 5   not have a conflict of interest. “For example, serving as Title DC coordinator and a disciplinary hearing

 6   board member may create a conflict of interest.” (April 2011 Dear Colleague Letter at 7; August 2015

 7   Dear Colleague Letter at 2-3.)

 $       13$.   Title DC may be violated by a school’s failure to prevent or remedy sexual harassment or

 9   sexual assault or by the imposition of university discipline where gender is a motivating factor in the

10   decision to discipline. In either case, the statute is enforceable through an implied private right of action.

11       139.   A plaintiff need only allege facts that raise a plausible inference of discrimination on the

12   basis of sex. $chwake v. Ariz. 3d. of Regents 967 F.3d 940, 947 (9th Cir. 2020).

13       140.   Challenges to university disciplinary proceedings for sex discrimination typically fall into

14   two categories: (1) “erroneous outcome” cases, in which the claim is that plaintiff was innocent and

15   wrongly found to have committed an offense and gender bias was a motivating factor behind the

16   erroneous findings; and (2) “selective enforcement” cases, in which the claim asserts that, regardless of

17   the student’s guilt or innocence, the severity of the penalty and/or decision to initiate the proceeding was

12   affected by the student’s gender.

19       141.   An “erroneous outcome” occurred in Plaintiff’s case. Plaintiff was an innocent victim who

20   was wrongly found to have committed a violation of CSU’s policies, and gender bias was a motivating

21   factor.

22       142.   To succeed on an erroneous outcome claim, a plaintiff must allege sufficient facts to cast

23   some articulable doubt on the accuracy of the outcome of the disciplinary proceeding and a

24   particularized causal connection between the flawed outcome and gender bias.

25       143.   In other words, the Plaintiff must demonstrate that there was (1) a flawed proceeding that (2)

26   led to an erroneous outcome that was adverse to the plaintiff; and (3) specific circumstances suggesting

27   gender bias led to the erroneous outcome.

2$       144.   Plaintiff has sufficiently alleged that the proceeding led to an erroneous outcome that was

                                          COMPLAINT FOR DAMAGES
                                                    19
         Case 2:21-cv-06768 Document 1 Filed 08/20/21 Page 25 of 66 Page ID #:25




 1   adverse to Plaintiff as set forth above.
 2       145.    Evidence of gender bias can include external pressures, internal pattern and practice, and
 3   facts specific to the instant case.
 4            A. EXTERNAL PRESSURES
 5       146.    On April 4,2011, the Office for Civil Rights (“OCR”) of the United States Department of
 6   Education issued a guidance letter to colleges and universities in the United States in receipt of federal
 7   funding which became widely known as the “Dear Colleague Letter” (the “DCL”). The DCL advised
 8   recipients that sexual violence constitutes sexual harassment within the meaning of Title IX of the
 9   Education Amendments of 1972, 20 U.S.C. § 1681 et seq. and its regulations, and directed schools to
10   “take immediate action to eliminate the harassment, prevent its recurrence and address its effects.” DCL
11   atp.4.
12       147.    The DCL responded, in part, to a special investigative report published by National Public
13   Radio and the Center for Public Integrity, which proclaimed a campus rape epidemic and criticized the
14   OCR for its lax response to what the report characterized as a social problem of critical importance. See
15   http://www.npr.org /templates/story/story.php?storyIdti2400l493. The report described in detail the
16   obstacles faced by sexual assault victims in obtaining redress though college disciplinary proceedings
17   and how victims who did engage in the college disciplinary process suffered additional trauma as a
18   result. Much of the report focused on underreporting, re-traumatization of victims, rape myth adherence
19   on college campuses, and young men’s cultural adherence to the sexual aggressor role.
20       148.   The DCL, further, relied on faulty statistics in sounding a “call to action” for campuses
21   nationwide—that “about 1 in 5 women are victims of completed or attempted sexual assault while in
22   college.” DCL, at p. 2. The researchers behind this study subsequently invalidated that statistic as a
23   misrepresentation of the conclusions of the study and warned that it was “inappropriate to use the l-in-5
24   number as a baseline...when discussing our country’s problem with rape and sexual assault.”
25   http://time.com/363 3903/campus-rape-i -in-5-sexual-assauk-setting-record-straightl. Relying on these
26   faulty numbers, the DCL minimized due process protections for the accused by, among other things,
27   eschewing any presumption of innocence, mandating a preponderance of the evidence standard, limiting
28   cross-examination, and forbidding certain forms of alternative dispute resolution.

                                           COMPLAINT FOR DAMAGES
                                                     20
         Case 2:21-cv-06768 Document 1 Filed 08/20/21 Page 26 of 66 Page ID #:26




 1       149.    On April 29, 2014, OCR issued additional directives to colleges and universities in the form
 2   of a guidance document titled Questions and Answers on Title IX and Sexual Violence (“Q&A”) which
 3   was aimed at addressing campus sexual misconduct policies, including the procedures colleges and
 4   universities “must” employ “to prevent sexual violence and resolve complaints” and the elements that
 5   “should be included in a school’s procedures for responding to complaints of sexual violence.” (Q&A, at
 6   p. 12.) The Q&A advised schools to adopt a trauma informed approach, advising, for example, that
 7   hearings should be “conducted in a manner that does not inflict additional trauma on the complainant.”
 $   (Id. at p. 31.) While the Q&A advised that “the rights established under Title DC must be interpreted
 9   consistently with any federally guaranteed due process rights.. .a school should ensure that any due
10   process rights do not restrict or unnecessarily delay the protections provided by Title DC to the
11   complainant.”(Id.atp. 13.)
12       150.   In April 2014, the White House issued a report entitled “Not Alone”, which included a
13   warning that if the OCR finds that a Title DC violation occurred, the “school risks losing federal funds”
14   and that the Department of Justice (“DOJ”) shares authority with OCR for enforcing Title TX and may
15   initiate an investigation or compliance review of schools. Further, if a voluntary resolution cannot be
16   reached, the DOJ may initiate litigation.
17       151.   In June 2014, then Assistant Secretary of Education Catherine Lhamon testified before the
1$   United States Senate that if OCR could not secure voluntary compliance with the DCL from a college or
19   university, it may elect to initiate an administrative action to terminate federal funds or refer the case to
20   the Department of Justice. To support enforcement of the DCL the OCR hired hundreds of additional
21   investigators. To date, OCR has resolved 197 investigations of colleges for the potential mishandling of
22   complaints of sexual violence, while 305 cases remain open. (https://projects.chronicle.comltitleixl.)
23       B. INTERNAL PATTERN AND PRACTICE OF BIAS
24       152.   A pervasive atmosphere of anti-male bias within the Title DC enforcement personnel at CSU
25   has resulted in an unprecedented amount of litigation in which the Superior Court of California has
26   repeatedly held, on numerous occasions, that the University deprived the male respondent of a fair
27   proceeding in adjudicating misconduct allegations.
2$       153.   CSUS does not publish the gender statistics of its Title DC investigations. Upon information

                                           COMPLAINT FOR DAMAGES
                                                     21
         Case 2:21-cv-06768 Document 1 Filed 08/20/21 Page 27 of 66 Page ID #:27




 1   and belief, discovery will show that CSU$ overwhelmingly finds males to be responsible of violations
 2   and females to be not responsible, as is evident from this matter.
 3       154.     Upon information and belief, Defendant CSU possesses additional documentation
 4   demonstrating its unlawful pattern of gender-biased adjudications and disparate treatment applied to
 5   males and females. Such documentation will be brought forth during discovery in this matter.
 6       155.     The foregoing combination of internal institutional pressure, ongoing OCR investigations,
 7   and pressure from the United States Department of Education, under a threat of recession of federal
 $   funds, contributed to an overzealous prosecution and erroneous finding of responsibility against
 9   Plaintiff.
10        C. SPECIFIC INSTANCES OF BIAS IN DOE’S CASE
11       156.     In addition to the external and internal pressures, gender bias permeated the investigation and
12   appealhearing.
13       157.     Specific instances of Doe being treated differently because he was a male are set forth more
14   completely hereinabove. In summary, Doe was treated differently than a similarly situated female (Roe)
15   during the Title DC investigation, as follows:
16
                  •   Alison Nygard created inaccurate and misleading witness statements and used these to
17
                      undermine John Doe’s relative credibility and find that Jane Roe’s statements were more
18                    credible.

19                •   Alison Nygard did not take verbatim notes of witness statements, and only paraphrased
                      what witnesses said during their interviews, then cherry picked summarized phrases, put
20
                      quotation marks around them, and called the quoted material a factual finding in order to
21                    justify her conclusions.

22                •   Alison Nygard mischaracterized John Doe’s timeline of events to demonstrate supposed
                      inconsistencies in his statements.
23
24                •   Alison Nygard findings are not supported by reliable facts or evidence, and she
                      repeatedly contorted evidence to find the accused male student was not credible, and the
25                    accused female student credible.
26                          ,   .           .   .                             .   .

                      CSUS s Title DC administrators are taught to accept statistics from unknown origin
                                                                                                      .

                  •
27                    indicating that males perpetrate nearly all sexual assault and gender-based violence and
                      that few sexual misconduct complaints made by females are false.
28

                                           COMPLAINT FOR DAMAGES
                                                     22
         Case 2:21-cv-06768 Document 1 Filed 08/20/21 Page 28 of 66 Page ID #:28




 1               •   C$US’s Title DC administrators address sexual misconduct complaints made by female
                     students with the presumption that since (purportedly) nearly one-hundred-percent of all
 2                   sexual assault and gender-based violence is perpetrated by men, the male accused student
                     must be guilty.

 4              •    CSUS’s Title DC administrators are taught to “believe the victim” and not to question
                     allegations made by female complainants.
 5
                •    CSUS conducted no formal evidentiary hearing before the investigator made factual
 6                   findings and determinations as to John Doe’s responsibility.

                •    John Doe did not receive all the evidence during the Title IX investigation.
 8
                •    John Doe was not provided with a live hearing where credibility determinations could be
 9                   made and John Doe could question his accuser.
10
11       158.   Importantly, Defendant CSU’s decision to expel Doe was unreasonable based on the
12   evidence, as the sanctions were disproportionate to the findings.
13       159.   The United States Department of Education’s Office for Civil Rights acknowledged that
14   using a different procedure for sexual harassment issues as opposed to other disciplinary issues (as was
15   done in this matter with the University placing the burden of proof on Doe), “suggests a discriminatory
16   purpose and should be avoided.” (https ://www2.ed.gov/aboutloffices/listiocr/docs/qa-title-ix-
17   201709.pdf)
18       160.   Defendant CSU engaged in deliberate indifference in refusing to correct the erroneous
19   findings and the harsh and disproportionate discipline placed on John Doe.
20       161.   Defendants C$U conduct, as detailed above, involved arbitrary and capricious violations of
21   John Doe’s Constitutional Due Process Rights.
22       162.   Upon information and belief, Defendant C$U possesses additional communications,
23   documents, and recordings evidencing Defendant’s deliberate indifference in imposing unlawful and
24   erroneous discipline on John Doe on the basis of his gender.
25       163.   This unlawful discrimination in violation of Title DC proximately caused Plaintiff to suffer
26   substantial injury, damage, and loss including, but not limited to, reputational damage, emotional
27   distress, psychological damages, loss of educational and career opportunities, economic injuries, counsel
2$   fees, court costs, and other direct and consequential damages.

                                          COMPLAINT FOR DAMAGES
                                                    23
         Case 2:21-cv-06768 Document 1 Filed 08/20/21 Page 29 of 66 Page ID #:29




 1       164.     As a result of the foregoing, Plaintiff is entitled to damages in an amount to be determined at
 2   trial, plus prejudgment interest, attorneys’ fees, expenses, costs and disbursements.
 3       165.     The Title TX selective enforcement theory asserts that, regardless of the student’s guilt or
 4   innocence, the severity of the penalty and/or decision to initiate the proceeding was affected by the
 5   student’s gender.
 6       166.      Selective enforcement is proven by a showing that a similarly situated member of the
 7   opposite sex was treated more favorably due to her gender.
 8       167.     As detailed herein, CSU violated Title IX’s prohibition against selectively enforcing its
 9   policies on the basis of gender.
10       168.     Specifically, CSU expelled the male respondent based on the female complainant’s
11   allegations when it was later determined that her claims were not supported by a preponderance of
12   evidence.
13       169.     Defendant CSU intentionally discriminated against Plaintiff because he is a male when it
14   permitted a single investigator, who was obviously biased, to act as investigator, judge, jury and
15   executioner, and imposed a “grossly disproportionate” and an excessively harsh and punitive sanction of
16   expulsion.
17       170.     furthermore, Doe was treated differently than similarly situated females in that “penile
18   vaginal penetration” was considered to be “rape or acquaintance rape under EO 1097 (aggravating
19   factor)” for which no mitigating factors could be considered and as such, the only possible sanction was
20   expulsion    —   a complete loss of all of his rights to education along with a permanent mark on his record
21   indicating a Title IX violation.
22       171.     Based on the foregoing, the actions taken and decisions made by Defendant CSU in carrying
23   out the Title TX investigation and adjudication process were informed by Plaintiff’s gender, without
24   regard to guilt or innocence.
25       172.     As set forth above, upon information and belief, Defendant has information which will show
26   that females are found responsible less often than males.
27       173.     As set forth above, the University holds in secrecy the data to prove that its selective
2$   enforcement begins at the intake of a Title IX Complaint.

                                             COMPLAINT FOR DAMAGES
                                                       24
         Case 2:21-cv-06768 Document 1 Filed 08/20/21 Page 30 of 66 Page ID #:30




 1       174.    Upon information and belief, the University chooses a higher percentage of male respondent
 2   cases than female respondent cases to bring to full investigation.
 3       175.    The direction to selectively enforce claims against men flowed from the Chancellor’s office,
 4   down through the Title IX office and was reflected in the attitude and treatment by each of the decision-
 5   makers in this matter.
 6       176.    Upon information and belief, Plaintiff was found responsible and subjected to expulsion
 7   because he is a male.
 8       177.    This unlawful discrimination in violation of Title IX proximately caused Plaintiff to suffer
 9   substantial injury, damage, and loss including, but not limited to, reputational damage, emotional
10   distress, psychological damages, loss of educational and career opportunities, economic injuries, counsel
11   fees, court costs, and other direct and consequential damages.
12       178.    As a result of the foregoing, Plaintiff is entitled to damages in an amount to be determined at
13   trial, plus prejudgment interest, attorneys’ fees, expenses, costs and disbursements.
14
                                         FOURTH CAUSE OF ACTION
15                                    Violation of California Civil Code, § 51
                                                 (Defendant CSU)
16
17       179.   John Doe repeats and realleges each and every allegation herein above as if fully set forth

18   herein.

19       180.   The California Civil Code    § 51, also known as the Unruh Civil Rights Act provides: “All
20   persons within the jurisdiction of this state are free and equal, and no matter what their sex, race, color,

21   religion, ancestry, national origin, disability, medical condition, genetic information, marital status, or

22   sexual orientation are entitled to the full and equal accommodations, advantages, facilities, privileges, or

23   services in all business establishments of every kind whatsoever.”

24       181.   CSUS is a “business establishment” within the meaning of California Civil Code,        § 51. Upon
25   information and belief, CSUS maintains physical facilities, employs a significant number of paid faculty

26   and staff, provides an education and academic experience to students, receives applications for

27   admission from the general public, receives tuition payments and fees from its students and is governed

28   by the Trustees of the California State University.

                                          COMPLAINT FOR DAMAGES
                                                    25
         Case 2:21-cv-06768 Document 1 Filed 08/20/21 Page 31 of 66 Page ID #:31




 1       182.    CSUS denied Plaintiff the advantages, facilities, privileges and services afforded to students
 2   of CSUS by, among other things: conducting an investigation and adjudication process biased against
 3   the male accused; failing to afford John Doe the rights enumerated in its own guidelines and policies;
 4   failing to utilize the requisite preponderance of the evidence standard; and assessing a sanction that was
 5   disproportionate and unwarranted in light of the circumstances.
 6       183.    CSUS intentionally engaged in the following discriminatory acts or practices against John
 7   Doe as the male accused: CSUS subjected John Doe to disciplinary action in an arbitrary and capricious
 8   way, deprived him of due process, and discriminated against him on the basis of his male sex.
 9       184.    Based on the foregoing facts and circumstances, CSU$ engaged in unlawful discriminatory
10   practices in violation of California Civil Code,   § 51.
11       185.    As a direct and proximate result of the above conduct, John Doe sustained tremendous
12   damages, including, without limitation, reputational damage, emotional distress, psychological damages,
13   loss of educational and career opportunities, economic injuries, counsel fees, court costs, and other
14   direct and consequential damages.
15       186.   As a result of the foregoing, Plaintiff is entitled to damages in an amount to be determined at
16   trial, plus prejudgment interest, attorneys’ fees, expenses, costs and disbursements.
17                                         FIFTH CAUSE OF ACTION
18                                                   Negligence
19                                                (Defendant CSU)
         187.   Plaintiff repeats and re-alleges each and every allegation hereinabove as if fully set forth
20
21   herein.

22       188.   In order to state a negligence claim under California law, a plaintiff must show that the

23   defendant owed the plaintiff a duty, defendant breached that duty, and such breach was the proximate

24   cause of plaintiffs damages.

25       189.   California courts have recognized the “special relationship” that exists between a university
     and its students, which gives rise to a duty of care “while they are engaged in activities that are part of
26
27   the school’s curriculum or closely related to its delivery of educational services. (Regents of University

28   of Cattfornia v. Superior Court (2018) 4 Cal.Sth 607, 624-625.)

                                          COMPLAINT FOR DAMAGES
                                                    26
         Case 2:21-cv-06768 Document 1 Filed 08/20/21 Page 32 of 66 Page ID #:32




 1       190.    Here, Defendant CSU formed a university-student relationship with Plaintiff and owed him a
 2   duty to conduct the disciplinary process with due care, to perform an investigation free from bias or
 3   conflict, and to ensure proper training to those responsible for investigating and adjudicating the alleged
 4   policy violations.
 5       191.    Such duties arise from CSU’s relationship with Plaintiff, as a student of the University, an
 6   obligation acknowledged by CSU’s policies.
 7       192.    The foregoing duties were breached when Plaintiff did not receive the full protections of the
 8   disciplinary process, and when he was subjected to biased, defective and flawed procedures and an
 9   improper decision unsupported by evidence.
10       193.    Plaintiff suffered injuries as a direct result of Defendant’s breach of the duties owed to him as
11   a student of CSU, including loss of educational and career opportunities, economic losses, emotional
12   and reputational damages.
13       194.    As a result of the foregoing, Plaintiff is entitled to damages in an amount to be determined at
14   trial, plus prejudgment interest.
15
16                                             PRAYER FOR RELIEF
17   WHEREFORE, Plaintiff prays for judgment against Defendants as follows:
18       1. On the First Cause of Action for Breach of Contract, a judgment awarding Plaintiff damages in
19   an amount to be determined at trial, including, without limitation, damages to physical well-being,
20   emotional and psychological damages, damages to reputation, past and future economic losses, loss of
21   educational and career opportunities, and loss of future career prospects, plus prejudgment interest,
22   attorneys’ fees, expenses, costs and disbursements;
23      2. On the Second Cause of Action for Promissory Estoppel, a judgment awarding Plaintiff damages
24   in an amount to be determined at trial, including, without limitation, damages to physical well-being,
25   emotional and psychological damages, damages to reputation, past and future economic losses, loss of
26   educational and career opportunities, and loss of future career prospects, plus prejudgment interest,
27   attorneys’ fees, expenses, costs and disbursements;
28      3. On the Third Cause of Action for Violation of Title DC, a judgment awarding Plaintiff damages

                                          COMPLMNT FOR DAMAGES
                                                   27
         Case 2:21-cv-06768 Document 1 Filed 08/20/21 Page 33 of 66 Page ID #:33




 1   in an amount to be determined at trial, including, without limitation, damages to physical well-being,
 2   emotional and psychological damages, damages to reputation, past and future economic losses, loss of
 3   educational opportunities, and loss of future career prospects, plus prejudgment interest, attorneys’ fees,
 4   expenses, costs and disbursements;
 5      4. On the Fourth Cause of Action for violation of California Civil Code,     § 51, a judgment awarding
 6   John Doe damages in an amount to be determined at trial, including, without limitation, damages to
 7   physical well-being, emotional and psychological damages, damages to reputation, past and future
 8   economic losses, loss of educational opportunities, and loss of future career prospects, plus prejudgment
 9   interest, attorneys’ fees, expenses, costs and disbursements;
10      5. On the Fifth Cause of Action for Negligence, a judgment awarding Plaintiff damages in an
11   amount to be determined at trial, including, without limitation, damages to physical well-being,
12   emotional and psychological damages, damages to reputation, past and future economic losses, loss of
13   educational and career opportunities, and loss of future career prospects, plus prejudgment interest,
14   attorneys’ fees, expenses, costs and disbursements;
15      6. For reasonable attorney’s fees incurred by Plaintiff as permitted by statute or contract;
16      7. For costs of suit incurred by Plaintiff; and
17      8. For such other and further relief as the court deems proper.
18
19                                                 HATHjX PRER,

20   Dated: July 12, 2021                  By:
                                                           L WATHA)AY
21                                                 JENNA E. PARKE1
22                                                 Attorneys for Plaintiff

23
24
25

26
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28

                                          COMPLAINT FOR DAMAGES
                                                    28
        Case 2:21-cv-06768 Document 1 Filed 08/20/21 Page 34 of 66 Page ID #:34




 1                                               JURY DEMAND

 2      Plaintiff John Doe herein demands a trial by jury of all triable issues in the present matter.
 3
 4                                                 HAT1AY P1AR1KER
                                                           /



 5   Dated: July 12, 2021                  By:
                                                       RK .4ATH            AY
 6
                                                   JENNAE. P
 7                                                 Attorneys for Plaintiff

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                                         COMPLAINT FOR DAMAGES
                                                   29
Case 2:21-cv-06768 Document 1 Filed 08/20/21 Page 35 of 66 Page ID #:35




                    EXHIBIT B
                   Case 2:21-cv-06768 Document 1 21 Filed 08/20/21
                                                    STCV255J 8     Page 36 of 66 Page ID #:36 SUM-i 00
                                          SUMMONS                                                                         FOR COURT USE ONLY
                                                                                                                      (SOLO PARA USO DC LA CORTE)
                                   (CITA CION JUDICIAL)
 NOTICE TO DEFENDANTS:
 (AWSO AL DEMANDADO):
 CALIFORNIA STATE UNIVERSITY, a public university system and DOES 1 to
 20 inclusive,

YOU ARE BEING SUED BY PLAINTIFF:
(LO ESTA DEMANDANDO EL DEMANDANTE):
JOHN DOE, an individual


  NOTICE! You have been sued. The court may decide against you without your being heard unless you respond within 30 days. Read the information
 below.
    You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
 served on the plaintiff. A letter or phone call will not protect you. Your written response must be in proper legal form if you want the court to hear your
 case. There may be a court form that you can use for your response. You can find these court forms and more information at the California Courts
 Online Self-Help Center (www.courtinfo.ca.gov/selfhelp), your county law library, or the courthouse nearest you. If you cannot pay the filing fee, ask
 the court clerk for a fee waiver form. If you do not file your response on time, you may lose the case by default, and your wages, money, and property
 may be taken without further warning from the court.
    There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
 referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can locate
 these nonprofit groups at the California Legal Services Web site (www.lawhelpcallfornia.org), the California Courts Online Self-Help Center
 fwww.courtinfo.ca.gov/selfhelp), or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
 costs on any settlement or arbitration award of $10,000 or more in a civil case. The court’s lien must be paid before the court will dismiss the case.
 A VISO! Lo han demandado. Si no responde dentro de 30 dIas, Ia corte puede decidir en su contra sin escuchar su version. Lea Ia informaciOn a
 continuaciOn.     -


    Tiene 30 DIAS DE CALENDARIO después de que le entreguen esta citación y papeles legales para presentar una respuesta por escrito en esta
 corte y hacer que se entregue una copia a! demandante. Una carla o una Ilamada telefOnica no lo protegen. Su respuesta por escrito tiene que estar
 en formato legal correcto si desea que procesen su caso en Ia corte. Es posible que haya un formulario que usted pueda usar para su respuesta.
 Puede encontrar estos formularios de Ia corte y mãs informacidn en el Centro de Ayuda de las Cortes de California (www.sucorte.ca.gov), en Ia
 biblioteca de leyes de su condado o en Ia corte que le queue más cerca. Si no puede pagar Ia cuota de presentación, pida a! secretario de Ia corte
 que le dO un formulario de exenciOn de pago de cuotas. Si no presenta su respuesta a tiempo, puede perder el caso pot incumplimiento y Ia corte le
 podrO quitar su sueldo, dinero y bienes sin mãs advertencia.
    Hay otros requisitos legales. Es recomendable que Ilame a un abogado inmediatamente. Si no conoce a un abogado, puede Ilamar a un seivicio de
 remisiOn a abogados. Si no puede pagar a un abogado, es posible que cumpla con los requisitos para obtener sen.Ocios legales gratuitos de un
 programa de servicios legales sin fines de lucro. Puede encontrar estos grupos sin fines de lucro en el sitio web de California Legal Sen,ices,
 (www.lawhelpcalifornia.org), en el Centro de Ayuda de las Cortes de California, (www.sucorte.cagov) o poniOndose en contacto con Ia corte o el
 colegio de abogados locales. A VISO: Pot ley, Ia corte tiene derecho a reclamar las cuotas ylos costos exentos pot imponer un gravamen sobre
 cualquier recuperaciOn de $70,000 0 mOs de valor recibida mediante un acuerdo o una concesiOn de arbitraje en un caso de derecho civil. Tiene que
 pagar el gravamen de Ia corte antes de que Ia corte pueda desechar el caso.
The name and address of the court is:                                                         CASE NUMBER:
(El nombre y direcciOn de (a corte es):                                                       (Nómero del Caso):

Los Angeles Superior Court                                                                          2 1 ST CV 2 5 51 8
111 N. Hill Street
111 N. Hill Street                                    Sherri R. Carter Executive Officerl Clerk of Court
Los Angeles 90012
Stanley Mosk Courthouse
The name, address, and telephone number of plaintiff’s attorney, or plaintiff without an attorney, is:
(El nombre, Ia direcciOn y el nOmero de teléfono del abogado del demandante, 0 del demandante que no tiene abogado, es):
Mark M. Hathaway 151332 (213) 529-9000 (213) 529-0783
HATHAWAY PARKER
445 S. Figueroa St. 31st Fl. Los Angeles, CA 90071
DATE:                                                                 Clerk, by                         ft. Perez         Deputy                       ,


(Fecha) 0711 212021                                                   (Secretarlo)                                       (Adjunto)
(For proof of service of this summons, use Proof of Service of Summons (form P05-070).)
(Para prueba de entrega de esta citation use el formularlo Proof of Service of Summons, (P03-070)).
                                     NOTICE TO THE PERSON SERVED: You are served
                                     1.  fl as an individual defendant.
                                     2.     as the person sued under the fictitious name of            (speciM...

                                     3.
                                                                   CALtFORt’.ltA yie LASII
                                               on behalf of (specify):
                                          under:       CCP 416.10 (corporation)                                 E CCP 416.60 (minor)
                                                       CCP 416.20 (defunct corporation)                         E CCP 416.70 (conservatee)
                                                    F] CCP 416.40 (association or partnership)                  fl CCP 416.90 (authorized person)
                                                         other (specify):
                                                                             Qi9 4! L .5V tb.- M
                                    4.     D   by personal delivery on (date):                              1

                                                                                                                                                          Page 1 ot 1
Form Adopted for Mandatory Use                                                                                                  Code of Civil Procedure § 412.20. 465
  Judicial Council of California
                                                                      SUMNS                           American LegalNet, Inc.
                                                                                                                                                  w.cauninro.cagoe
  SUM-i 00 [Rev. July 1, 2009]                                                                        www.FormsWorkflow.com
Case 2:21-cv-06768 Document 1 Filed 08/20/21 Page 37 of 66 Page ID #:37




                    EXHIBIT C
                                   Case 2:21-cv-06768 Document 1 Filed 08/20/21 Page 38 of 66 Page ID #:38

     Electronically FILED by Superior Court of California, County of Los Angeles on 08/19/2021 12:29 PM Sherri R. Carter, Executive Officer/Clerk of Court, by X. Soto,Deputy Clerk



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                          7   Attorneys for Defendant
                              BOARD OF TRUSTEES OF
                          8   THE CALIFORNIA STATE UNIVERSITY

                          9
                         10                             SUPERIOR COURT OF THE STATE OF CALIFORNIA

                         11                               COUNTY OF LOS ANGELES, CENTRAL DISTRICT

                         12

                         13 JOHN DOE, an individual,                                                     Case No. 21STCV25518
                         14                  Plaintiff,                                                  EXEMPT FROM FEES (GOV. CODE § 6103)
RENNE PUBLIC LAW GROUP




                         15
                              v.                                                                         BOARD OF TRUSTEES OF THE
    Attorneys at Law




                         16                                                                              CALIFORNIA STATE UNIVERSITY’S
                            CALIFORNIA STATE UNIVERSITY, a public                                        ANSWER TO PLAINTIFF’S COMPLAINT
                         17 university system and DOES 1 to 20 inclusive,                                FOR DAMAGES
                         18                  Defendants.
                         19                                                                              Complaint Filed: July 12, 2021

                         20

                         21           Defendant Board of Trustees of the California State University (erroneously sued as “California

                         22   State University,” and herein referred to as “Defendant”) answers the unverified Complaint for Damages

                         23   of Plaintiff John Doe (“Plaintiff”) as follows:

                         24                                                         GENERAL DENIAL

                         25           Pursuant to California Code of Civil Procedure section 431.30, subdivision (d), Defendant denies,

                         26   generally and specifically, conjunctively and disjunctively, each and every and all of the allegations of

                         27   Plaintiff’s Complaint and each paragraph contained therein. Defendant specifically denies that Plaintiff

                         28   has been damaged as alleged, or at all, by reason of any act or omission on the part of Defendant, its

                                                                                                   -1-
                              BOARD OF TRUSTEES OF THE CALIFORNIA STATE UNIVERSITY’S ANSWER TO PLAINTIFF’S COMPLAINT - CASE NO.
                              21STCV25518
                                   Case 2:21-cv-06768 Document 1 Filed 08/20/21 Page 39 of 66 Page ID #:39



                          1   agents, servants or employees, and further denies that Plaintiff is entitled to any relief as prayed for in the

                          2   Complaint whatsoever.

                          3                                      SEPARATE ADDITIONAL DEFENSES

                          4           Defendant states the following separate defenses to the Complaint without admitting,

                          5   acknowledging, or assuming that Defendant bears the burden of proof as to any of them. Because the

                          6   Complaint is stated in conclusory terms and is uncertain, vague and ambiguous, Defendant cannot fully

                          7   anticipate all affirmative defenses that may be applicable to this action. Accordingly, Defendant reserves

                          8   the right to assert additional defenses if, and to the extent that, Defendant becomes aware that such

                          9   additional defenses are applicable.
                         10                                            First Affirmative Defense

                         11                                              (Statute of Limitations)

                         12           The Complaint, and each purported cause of action contained therein, is barred, in whole or in

                         13   part, to the extent Plaintiff failed to comply with any applicable statutes of limitations.

                         14                                           Second Affirmative Defense
RENNE PUBLIC LAW GROUP




                         15                                                      (Laches)
    Attorneys at Law




                         16           The Complaint, and each purported cause of action contained therein, is barred, in whole or in

                         17   part, by the doctrine of laches.

                         18                                           Third Affirmative Defense

                         19                                                     (Estoppel)
                         20           Plaintiff, through his conduct, acts and omissions, and/or through the conduct, acts and omissions

                         21   of Plaintiff’s agents or representatives, is estopped from recovering any relief under any of the causes of

                         22   action alleged against Defendant.

                         23                                           Fourth Affirmative Defense

                         24                                                     (Waiver)

                         25           Plaintiff, through his conduct, acts and omissions, and/or through the conduct, acts and omissions

                         26   of Plaintiff’s agents or representatives, has waived any right to relief under any of the causes of action

                         27   alleged against Defendant.

                         28   //
                                                                                    -2-
                              BOARD OF TRUSTEES OF THE CALIFORNIA STATE UNIVERSITY’S ANSWER TO PLAINTIFF’S COMPLAINT - CASE NO.
                              21STCV25518
                                 Case 2:21-cv-06768 Document 1 Filed 08/20/21 Page 40 of 66 Page ID #:40



                          1                                             Fifth Affirmative Defense

                          2                                                  (Unclean Hands)

                          3          Plaintiff, through his conduct, acts and omissions, and/or through the conduct, acts and omissions

                          4   of Plaintiff’s agents or representatives, is barred, in whole or in part, by the doctrine of unclean hands

                          5   from recovering any relief under any of the causes of action alleged in the Complaint.

                          6                                             Sixth Affirmative Defense

                          7                                                      (Consent)

                          8          The Complaint, and each purported cause of action contained therein, is barred, in whole or in

                          9   part, by the doctrine of consent.
                         10                                           Seventh Affirmative Defense

                         11                                                     (Mootness)

                         12          The Complaint, and each purported cause of action contained therein, in whole or in part, fails to

                         13   state a claim upon which relief can be granted because the claims are moot.

                         14                                            Eighth Affirmative Defense
RENNE PUBLIC LAW GROUP




                         15                                                   (No Damages)
    Attorneys at Law




                         16          Plaintiff has suffered no legally cognizable damages caused by any conduct of the Defendant.

                         17                                            Ninth Affirmative Defense

                         18                                         (Failure to State a Cause of Action)

                         19          The Complaint, and each purported cause of action alleged therein, fails to state facts sufficient to
                         20   constitute a cause of action against Defendant.

                         21                                            Tenth Affirmative Defense

                         22                                   (Unilateral and/or Mutual Mistake of Fact)

                         23          Plaintiff is barred from recovery, in whole or in part, under the doctrine of unilateral and/or

                         24   mutual mistake of fact.

                         25                                           Eleventh Affirmative Defense

                         26                                                (Failure to Exhaust)

                         27          Plaintiff is barred from recovery, in whole or in part, by failing to exhaust his administrative,

                         28   judicial, and contractual remedies.
                                                                                    -3-
                              BOARD OF TRUSTEES OF THE CALIFORNIA STATE UNIVERSITY’S ANSWER TO PLAINTIFF’S COMPLAINT - CASE NO.
                              21STCV25518
                                 Case 2:21-cv-06768 Document 1 Filed 08/20/21 Page 41 of 66 Page ID #:41



                          1                                           Twelfth Affirmative Defense

                          2                                             (Government Claims Act)

                          3          Plaintiff is barred from recovery, in whole or in part, to the extent Plaintiff failed to comply with

                          4   the claims presentation requirements of the California Government Claims Act, including, but not limited

                          5   to, the provisions of California Government Code sections 905, 945.4 and 911.2.

                          6                                          Thirteenth Affirmative Defense

                          7                                                    (Immunity)

                          8          Plaintiff’s Complaint, and each pending cause of action therein, is barred because Defendant and

                          9   its employees are immune from liability pursuant to the Government Claims Act, Government Code
                         10   sections 815, 815.2, 818, 818.2, 818.8, 820.2, 820.4, 820.6, 820.8, 821.2, 821.6, and 822.2, et seq.
                         11                                          Fourteenth Affirmative Defense

                         12                                         (Failure to Join Necessary Parties)

                         13          Plaintiff has failed to join a party or parties necessary to this action whose interests are impacted

                         14   by the claims alleged in the Complaint and the requested relief, and has further omitted to state any
RENNE PUBLIC LAW GROUP




                         15   reasons for such failure.
    Attorneys at Law




                         16                                           Fifteenth Affirmative Defense

                         17                                             (Discretionary Authority)

                         18          Plaintiff is not entitled to the relief requested on the ground that it requests the Court to compel

                         19   Defendant to exercise discretionary authority in a particular manner.
                         20                                          Sixteenth Affirmative Defense

                         21                                            (Justification and Privilege)

                         22          Defendant alleges that its conduct was justified and privileged in taking the actions that Plaintiff

                         23   is now challenging.

                         24                                         Seventeenth Affirmative Defense

                         25                               (Acts in Accordance with Law and Substantial Evidence)

                         26          Defendant did not act arbitrarily, capriciously, or wholly without evidentiary support; did not

                         27   abuse its discretion; and made all required findings, which supported all challenged actions and were

                         28   supported by substantial evidence.
                                                                                    -4-
                              BOARD OF TRUSTEES OF THE CALIFORNIA STATE UNIVERSITY’S ANSWER TO PLAINTIFF’S COMPLAINT - CASE NO.
                              21STCV25518
                                   Case 2:21-cv-06768 Document 1 Filed 08/20/21 Page 42 of 66 Page ID #:42



                          1                                          Eighteenth Affirmative Defense

                          2                                               (Statutory Compliance)

                          3            Plaintiff is not entitled to the relief requested on the ground that Defendant at all times acted in

                          4   accordance with the applicable laws and statutes.

                          5                                          Nineteenth Affirmative Defense

                          6                                                      (Good Faith)

                          7            Plaintiff is not entitled to the relief requested on the ground that Defendant at all times acted in

                          8   good faith.

                          9                                          Twentieth Affirmative Defense
                         10                                                      (Ratification)

                         11            Plaintiff’s claims are barred, in whole or in part, by Plaintiff’s and/or Plaintiff’s agents or

                         12   representatives’ participation in, approval of or ratification of the conduct upon which the claims are

                         13   based.

                         14                                         Twenty-First Affirmative Defense
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                         15                                                      (Justiciability)
    Attorneys at Law




                         16            The Complaint, and each purported cause of action therein, whether singularly or in any

                         17   combination, fails to state a justiciable claim.

                         18                                       Twenty-Second Affirmative Defense

                         19                                                  (Collateral Source)
                         20            To the extent Plaintiff is entitled to any recovery, said recovery must be reduced by the amounts

                         21   Plaintiff has received from any collateral source, and Defendant is entitled to set off such amounts and is

                         22   also entitled to reimbursement pursuant to Government Code section 985.

                         23                                        Twenty-Third Affirmative Defense

                         24                                              (After Acquired Evidence)

                         25            If Plaintiff was entitled to recover for any loss suffered or sustained at the times alleged, although

                         26   such is not admitted hereby or herein, then the total amount of damage to which Plaintiff would

                         27   otherwise be entitled shall be limited in whole or part by the doctrine of after-acquired evidence.

                         28   //
                                                                                       -5-
                              BOARD OF TRUSTEES OF THE CALIFORNIA STATE UNIVERSITY’S ANSWER TO PLAINTIFF’S COMPLAINT - CASE NO.
                              21STCV25518
                                 Case 2:21-cv-06768 Document 1 Filed 08/20/21 Page 43 of 66 Page ID #:43



                          1                                     Twenty-Fourth Affirmative Defense

                          2                                        (Avoidable Consequences Doctrine)

                          3          Plaintiff’s damages against Defendant are barred and/or should be reduced under the avoidable

                          4   consequences doctrine. See State Dept. of Health Services v. Superior Court, 31 Cal. 4th 1027 (2003).

                          5                                        Twenty-Fifth Affirmative Defense

                          6                                               (Comparative Fault)

                          7          Plaintiff’s injuries and damages, if any, were proximately caused, in whole or in part, by the

                          8   negligence and fault of Plaintiff, or by others whose conduct is imputable to Plaintiff, and the recovery of

                          9   Plaintiff, if any, is diminished by the proportion of such negligence and fault.
                         10                                        Twenty-Sixth Affirmative Defense

                         11                                               (Failure to Mitigate)

                         12          Plaintiff is barred from recovery due to the failure to mitigate his damages.

                         13                                     Twenty-Seventh Affirmative Defense

                         14                                             (Speculative Damages)
RENNE PUBLIC LAW GROUP




                         15          Plaintiff’s damages against Defendant, if any, are barred and/or should be reduced as they are
    Attorneys at Law




                         16   entirely speculative.

                         17                                     Twenty-Eighth Affirmative Defense

                         18                                              (Respondeat Superior)

                         19          Defendant is not, by way of principles of respondeat superior or otherwise, vicariously liable for
                         20   any act or omission of any person.

                         21                                      Twenty-Ninth Affirmative Defense

                         22                                               (No Attorney Fees)

                         23          The Complaint and each cause of action fail to state facts upon which an award of attorney’s fees

                         24   can be granted.

                         25                                          Thirtieth Affirmative Defense

                         26                                  (Legitimate Business Interests – Unruh Act)

                         27          Plaintiff’s claims are barred, in whole or in part, because all of Defendant’s actions were motivated

                         28   by legitimate business interests, including, but not limited to, complying with legal requirements and
                                                                                   -6-
                              BOARD OF TRUSTEES OF THE CALIFORNIA STATE UNIVERSITY’S ANSWER TO PLAINTIFF’S COMPLAINT - CASE NO.
                              21STCV25518
                                   Case 2:21-cv-06768 Document 1 Filed 08/20/21 Page 44 of 66 Page ID #:44



                          1   maintaining order.

                          2                                       Thirty-First Affirmative Defense

                          3                                           (Public Policy – Unruh Act)

                          4           The Complaint is barred to the extent that a public policy expressed by statute generally

                          5   constitutes a reasonable basis for drawing distinctions on the basis of classifications otherwise protected

                          6   by the Unruh Act.

                          7                                      Thirty-Second Affirmative Defense

                          8                                   (Litigation/Official Proceedings Privilege)

                          9           The Complaint is barred, in whole or in part, because Defendant’s conduct was privileged under
                         10   Civil Code section 47.
                         11                                       Thirty-Third Affirmative Defense

                         12                                    (Further Affirmative Defenses Reserved)

                         13           Defendant presently has insufficient knowledge or information on which to form a belief as to

                         14   whether it may have additional affirmative defenses that cannot be articulated at this time. Defendant
RENNE PUBLIC LAW GROUP




                         15   reserves its right to assert, and hereby gives notice that it intends to rely upon, any other defense that may
    Attorneys at Law




                         16   become available.

                         17

                         18                                            PRAYER FOR RELIEF

                         19           WHEREFORE, Defendant prays as follows:
                         20           1.     That judgment be entered in favor of Defendant and against Plaintiff on the Complaint as

                         21   a whole, and that Plaintiff take nothing by way of the Complaint;

                         22           2.     That the Complaint, and each cause of action therein, be dismissed with prejudice;

                         23           3.     That Defendant be awarded the costs, expenses and attorney’s fees incurred in this action,

                         24   including, but not limited to, those costs contemplated by Government Code section 6103 et seq., Code

                         25   of Civil Procedure section 1032 et seq; and

                         26   //

                         27   //

                         28   //
                                                                                   -7-
                              BOARD OF TRUSTEES OF THE CALIFORNIA STATE UNIVERSITY’S ANSWER TO PLAINTIFF’S COMPLAINT - CASE NO.
                              21STCV25518
                                 Case 2:21-cv-06768 Document 1 Filed 08/20/21 Page 45 of 66 Page ID #:45



                          1          4.      That the court grant such additional relief as it deems proper.

                          2

                          3   Dated: August 19, 2021                                    RENNE PUBLIC LAW GROUP

                          4
                                                                                        By:
                          5
                                                                                              ARTHUR A. HARTINGER
                          6
                                                                                        Attorneys for Defendant
                          7                                                             BOARD OF TRUSTEES OF
                                                                                        THE CALIFORNIA STATE UNIVERSITY
                          8

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RENNE PUBLIC LAW GROUP




                         15
    Attorneys at Law




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                                                                                  -8-
                              BOARD OF TRUSTEES OF THE CALIFORNIA STATE UNIVERSITY’S ANSWER TO PLAINTIFF’S COMPLAINT - CASE NO.
                              21STCV25518
                                 Case 2:21-cv-06768 Document 1 Filed 08/20/21 Page 46 of 66 Page ID #:46



                          1                                             PROOF OF SERVICE

                          2           I, the undersigned, am employed by RENNE PUBLIC LAW GROUP. My business address is
                              350 Sansome Street, Suite 300, San Francisco, California 94104. I am readily familiar with the business
                          3   practices of this office. I am over the age of 18 and not a party to this action.

                          4          On August 19, 2021, I served the following document(s):

                          5          BOARD OF TRUSTEES OF THE CALIFORNIA STATE UNIVERSITY’S ANSWER TO
                                     PLAINTIFF’S COMPLAINT FOR DAMAGES
                          6
                              by the following method(s):
                          7
                                     United States Mail. I enclosed the document(s) in a sealed envelope or package addressed to
                          8           the persons at the addresses on the attached Service List and deposited the sealed envelope with
                                      the United States Postal Service, with the postage fully prepaid.
                          9
                         10                                                 SERVICE LIST
                         11
                                Mark M. Hathaway
                         12     Jenna E. Parker
                                HATHAWAY PARKER
                         13     445 S. Figueroa Street, 31st Floor
                                Los Angeles, CA 90071
                         14     Telephone: (213) 529-9000
                                Facsimile: (213) 529-0783
RENNE PUBLIC LAW GROUP




                         15
                                Email: mark@hathawayparker.com
    Attorneys at Law




                         16     Email: jenna@hathawayparker.com

                         17
                                Attorneys for Plaintiff
                         18     JOHN DOE
                         19
                                      I declare under penalty of perjury under the laws of the State of California that the foregoing is
                         20   true and correct. Executed on August 19, 2021, at Dublin, California.

                         21

                         22                                                                           Bobette M. Tolmer
                         23

                         24

                         25

                         26

                         27

                         28
                                                                                   -9-
                              BOARD OF TRUSTEES OF THE CALIFORNIA STATE UNIVERSITY’S ANSWER TO PLAINTIFF’S COMPLAINT - CASE NO.
                              21STCV25518
Case 2:21-cv-06768 Document 1 Filed 08/20/21 Page 47 of 66 Page ID #:47




                    EXHIBIT D
Electronically FILED by Superior Court of California, County of Los Angeles on 07/12/2021 02:02 PM Sherri R. Carter, Executive Officer/Clerk of Court, by R. Perez,Deputy Clerk
                             Case 2:21-cv-06768 Document 1 21STCV25518
                                                             Filed 08/20/21 Page 48 of 66 Page ID #:48                                                                            CM-010
          ..._6._TIORNEY OR PARTY WITHOUT ATTORNEY (Name, State Bar number, and address):                                                         FOR COURT USE ONLY
              Mark M. Hathaway 151332
              Hathaway Parker
              445 South Figueroa Street, 31st Floor
              Los Angeles, CA 90071
                 TELEPHONE NO. 213-529-9000             FAX NO.: 213-529-0783

           ATIORNEY FOR (Name): Petitioner

          SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
               sTREET ADDREss: 111 N. Hi II Street

              MAILINGADDREss:   111 N. Hill Street
              c1TY AND z1P coDE Los Angeles 90012

                   BRANCH NAME Stanley Mosk Courthouse

            CASE NAME: John Doe v. California State University

                                                                                                                                 CASE NUMBER
                   CIVIL CASE COVER SHEET                                       Complex Case Designation
                   Unlimited           LimitedD             D Counter D Joinder
                   (Amount             (Amount                                                       JUDGE
                   demanded           demanded is          Filed with first appearance by defendant
                   exceeds $25,000)   $25,000 or less)         (Cal. Rules of Court, rule 3.402)      DEPT
                                             Items 1-6 below must be comoleted (see instructions on oaae 2).
           1. Check one box below for the case type that best describes this case:
              Auto Tort                                                 Contract                                        Provisionally Complex Civil Litigation
              D     Auto (22)                                           ~     Breach of contracUwarranty (06)           (Cal. Rules of Court, rules 3.400-3.403)
              D     Uninsured motorist (46)                             D     Rule 3.740 collections (09)               D      AntitrusUTrade regulation (03)
              Other PI/PD/WD (Personal Injury/Property                  D     Other collections (09)                    D      Construction defect (10)
              Damage/Wrongful Death) Tort                               D     Insurance coverage (18)                   D       Mass tort (40)
                                                                                                                        D
              B
              D     Asbestos (04)
                    Product liability (24)
                    Medical malpractice (45)
                                                                        D     Other contract (37)
                                                                        Real Property
                                                                        D     Eminent domain/Inverse
                                                                                                                        D
                                                                                                                        D
                                                                                                                             Securities litigation (28)
                                                                                                                             Environmental/Toxic tort (30)
                                                                                                                             Insurance coverage claims arising from the
              D     Other PI/PD/WD (23)                                       condemnation (14)                              above listed provisionally complex case
              Non-PI/PD/WD (Other) Tort                                 D     Wrongful eviction (33)                         types (41)
              D     Business torUunfair business practice (07)          D     Other real property (26)                  Enforcement of Judgment
              D     Civil rights (08)                                   Unlawful Detainer
                                                                                                                        D    Enforcement of judgment (20)
              D     Defamation (13)                                     D     Commercial (31)                           Miscellaneous Civil Complaint
              D     Fraud (16)                                          D     Residential (32)
                                                                                                                        0    RICO (27)

              D    Intellectual property (19)                           D     Drugs (38)
                                                                                                                        D    Other complaint (not specified above) (42)
              D    Professional negligence (25)                         Judicial Review                                 Miscellaneous Civil Petition
              D    Other non-Pl/PD/WO tort (35)                         D     Asset forfeiture (05)                     D    Partnership and corporate governance (21)
              Employment                                                D     Petition re: arbitration award (11)       D    Other petition (not specified above) (43)
              D        Wrongful termination (36)                        D       Writ of mandate (02)
              D        Other employment (15)                            D       Other judicial review (39)
          2. This case         is D ~ is not complex under rule 3.400 of the California Rules of Court. If the case is complex, mark the
             factors requiring exceptional judicial management:
             a. D Large number of separately represented parties d. D Large number of witnesses
             b. D Extensive motion practice raising difficult or novel e. D Coordination with related actions pending in one or more courts
                       issues that will be time-consuming to resolve         in other counties, states, or countries, or in a federal court
             c.     D  Substantial amount of documentary evidence      f.                       D
                                                                             Substantial postjudgment judicial supervision
          3. Remedies sought (check all that apply): a. ~ monetary b. D nonmonetary; declaratory or injunctive relief        c. D punitive
          4. Number of causes of action (specify): 5
          5. This case          D
                               is ~ is not a class action suit.
          6. If there are any known related cases, file and serve a notice of related case. (You m
          Date: July 12, 2021
          Mark M. Hathaway
                                             TYPE OR PRINT NAME

                                                                                  NOTICE
             • Plaintiff must file this cover sheet with the first paper filed in the action or proceeding (except small claims cases or cases filed
               under the Probate Code, Family Code, or Welfare and Institutions Code). (Cal. Rules of Court, rule 3.220.) Failure to file may result
               in sanctions.
             • File this cover sheet in addition to any cover sheet required by local court rule.
             • If this case is complex under rule 3.400 et seq. of the California Rules of Court, you must serve a copy of this cover sheet on all
               other parties to the action or proceeding.
             • Unless this is a collections case under rule 3.740 or a complex case, this cover sheet will be used for statistical purposes only.
                                                                                                                                                                                    Pae1of2

          Farm Adopted for Mandatory Use                                                                                              Cal. Rules of Court, rules 2.30, 3.220, 3.400--3.403, 3.740;
            Judicial Council of California                               CIVIL CASE COVER SHEET                                               Cal. Standards of Judicial Administration, std. 3.10
             CM-010 [Rev. July 1, 2007]                                                                                                                                     www.courtinfo.ca.gov
                   Case 2:21-cv-06768 Document 1 Filed 08/20/21 Page 49 of 66 Page ID #:49
                                                                                                                                          CM-010
                                       INSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET
To Plaintiffs and Others Filing First Papers. If you are filing a first paper (for example, a complaint) in a civil case, you must
complete and file, along with your first paper, the Civil Case Cover Sheet contained on page 1. This information will be used to compile
statistics about the types and numbers of cases filed. You must complete items 1 through 6 on the sheet. In item 1, you must check
one box for the case type that best describes the case. If the case fits both a general and a more specific type of case listed in item 1,
check the more specific one. If the case has multiple causes of action, check the box that best indicates the primary cause of action.
To assist you in completing the sheet, examples of the cases that belong under each case type in item 1 are provided below. A cover
sheet must be filed only with your initial paper. Failure to file a cover sheet with the first paper filed in a civil case may subject a party,
its counsel, or both to sanctions under rules 2.30 and 3.220 of the California Rules of Court.
To Parties in Rule 3.740 Collections Cases. A "collections case" under rule 3.740 is defined as an action for recovery of money
owed in a sum stated to be certain that is not more than $25,000, exclusive of interest and attorney's fees, arising from a transaction in
which property, services, or money was acquired on credit. A collections case does not include an action seeking the following: (1) tort
damages, (2) punitive damages, (3) recovery of real property, (4) recovery of personal property, or (5) a prejudgment writ of
attachment. The identification of a case as a rule 3.740 collections case on this form means that it will be exempt from the general
time-for-service requirements and case management rules, unless a defendant files a responsive pleading. A rule 3.740 collections
case will be subject to the requirements for service and obtaining a judgment in rule 3.740.
To Parties in Complex Cases. In complex cases only, parties must also use the Civil Case Cover Sheet to designate whether the
case is complex. If a plaintiff believes the case is complex under rule 3.400 of the California Rules of Court, this must be indicated by
completing the appropriate boxes in items 1 and 2. If a plaintiff designates a case as complex, the cover sheet must be served with the
complaint on all parties to the action. A defendant may file and serve no later than the time of its first appearance a joinder in the
plaintiff's designation, a counter-designation that the case is not complex, or, if the plaintiff has made no designation, a designation that
the case is complex.
                                                           CASE TYPES AND EXAMPLES
Auto Tort                                        Contract                                           Provisionally Complex Civil Litigation (Cal.
    Auto (22)-Personal Injury/Property              Breach of Contract/Warranty (06)                Rules of Court Rules 3.400-3.403)
           Damage/Wrongful Death                          Breach of Rental/Lease                         Antitrust/Trade Regulation (03)
     Uninsured Motorist (46) (if the                          Contract (not unlawful detainer            Construction Defect (10)
           case involves an uninsured                             or wrongful eviction)                  Claims Involving Mass Tort (40)
           motorist claim subject to                     Contract/Warranty Breach-Seller                 Securities Litigation (28)
           arbitration, check this item                       Plaintiff (not fraud or negligence)        Environmental/Toxic Tort (30)
           instead of Auto)                              Negligent Breach of Contract/                   Insurance Coverage Claims
Other PI/PD/WD (Personal Injury/                              Warranty                                        (arising from provisionally complex
Property Damage/Wrongful Death)                          Other Breach of Contract/Warranty                   case type listed above) (41)
Tort                                                Collections (e.g., money owed, open              Enforcement of Judgment
    Asbestos (04)                                        book accounts) (09)                             Enforcement of Judgment (20)
          Asbestos Property Damage                       Collection Case-Seller Plaintiff                    Abstract of Judgment (Out of
          Asbestos Personal Injury/                      Other Promissory Note/Collections                         County)
                Wrongful Death                               Case                                            Confession of Judgment (non-
     Product Liability (not asbestos or             Insurance Coverage (not provisionally                          domestic relations)
            toxic/environmental) (24)                    complex) (18)                                       Sister State Judgment
     Medical Malpractice (45)                            Auto Subrogation                                    Administrative Agency Award
          Medical Malpractice-                           Other Coverage                                            (not unpaid taxes)
                 Physicians & Surgeons              Other Contract (37)                                       Petition/Certification of Entry of
          Other Professional Health Care                 Contractual Fraud                                         Judgment on Unpaid Taxes
                Malpractice                              Other Contract Dispute                              Other Enforcement of Judgment
     Other PI/PD/WD (23)                         Real Property                                                     Case
          Premises Liability (e.g., slip            Eminent Domain/Inverse                           Miscellaneous Civil Complaint
          and fall)                                      Condemnation (14)                               RICO (27)
          Intentional Bodily Injury/PD/WO           Wrongful Eviction (33)                               Other Complaint (not specified
                 (e.g., assault, vandalism)         Other Real Property (e.g., quiet title) (26)             above) (42)
          Intentional Infliction of                      Writ of Possession of Real Property                  Declaratory Relief Only
                Emotional Distress                       Mortgage Foreclosure                                 Injunctive Relief Only (non-
          Negligent Infliction of                        Quiet Title                                               harassment)
                Emotional Distress                       Other Real Property (not eminent                    Mechanics Lien
          Other PI/PD/WD                                 domain, landlord/tenant, or                         Other Commercial Complaint
Non-PI/PD/WD (Other) Tort                                foreclosure)                                              Case (non-tort/non-complex)
     Business Tort/Unfair Business               Unlawful Detainer                                           Other Civil Complaint
        Practice (07)                               Commercial (31)                                                (non-tort/non-complex)
     Civil Rights (e.g., discrimination,            Residential (32)                                 Miscellaneous Civil Petition
        false arrest) (not civil                    Drugs (38) (if the case involves illegal             Partnership and Corporate
        harassment) (08)                                 drugs, check this item; otherwise,                   Governance (21)
     Defamation (e.g., slander, libel)                   report as Commercial or Residential)            Other Petition (not specified
        (13)                                     Judicial Review                                             above) (43)
     Fraud (16)                                     Asset Forfeiture (05)                                    Civil Harassment
     Intellectual Property (19)                     Petition Re: Arbitration Award (11)                      Workplace Violence
     Professional Negligence (25)                   Writ of Mandate (02)                                      Elder/Dependent Adult
        Legal Malpractice                                Writ-Administrative Mandamus                              Abuse
        Other Professional Malpractice                   Writ-Mandamus on Limited Court                       Election Contest
             (not medical or legal)                          Case Matter                                      Petition for Name Change
     Other Non-Pl/PD/WO Tort (35)                        Writ-Other Limited Court Case                        Petition for Relief From Late
Employment                                                   Review                                                Claim
     Wrongful Termination (36) Other                Other Judicial Review (39)                               Other Civil Petition
        Employment (15)                                  Review of Health Officer Order
                                                         Notice of Appeal-Labor
                                                             Commissioner Appeals
CM-010 IRev. July 1, 2007]                         CIVIL CASE COVER SHEET                                                                  Page 2 of 2

                                                                                                                              American LegalNet, Inc.
                                                                                                                              www.FormsWorkflow.com
Electronically FILED by Superior Court of California, County of Los Angeles on 07/12/2021 02:02 PM Sherri R. Carter, Executive Officer/Clerk of Court, by R. Perez,Deputy Clerk
                               Case 2:21-cv-06768 Document 1 21STCV25518
                                                               Filed 08/20/21 Page 50 of 66 Page ID #:50
        SHORT TITLE:                                                                                                   CASE NUMBER
        John Doe v. California State University


                                           CIVIL CASE COVER SHEET ADDENDUM AND
                                                   STATEMENT OF LOCATION
                            (CERTIFICATE OF GROUNDS FOR ASSIGNMENT TO COURTHOUSE LOCATION)
                            This form is required pursuant to Local Rule 2.3 in all new civil case filings in the Los Angeles Superior Court.




                 Step 1: After completing the Civil Case Cover Sheet (Judicial Council form CM-010), find the exact case type in
                               Column A that corresponds to the case type indicated in the Civil Case Cover Sheet.


                 Step 2: In Column B, check the box for the type of action that best describes the nature of the case.

                 Step 3: In Column C, circle the number which explains the reason for the court filing location you have
                               chosen.

                                                   Applicable Reasons for Choosing Court Filing Location (Column C)

        1. Class actions must be filed in the Stanley Mask Courthouse, Central District.              7. Location where petitioner resides.

       2. Permissive filing in central district.                                                      8. Location wherein defendant/respondent functions wholly.

       3. Location where cause of action arose.                                                       9. Location where one or more of the parties reside.

       4. Mandatory personal injury filing in North District.                                        10. Location of Labor Commissioner Office.
                                                                                                     11. Mandatory filing location (Hub Cases - unlawful detainer, limited
       5. Location where performance required or defendant resides.                                  non-collection, limited collection, or personal injury).
       6. Location of property or permanently garaged vehicle.




                                           A                                                                 B                                                             C
                                 Civil Case Cover Sheet                                              Type of Action                                              Applicable Reasons -
                                       Category No.                                                 (Check only one)                                              See Step 3 Above

                                       Auto (22)               0   A7100 Motor Vehicle - Personal Injury/Property Damage/Wrongful Death                         1, 4, 11
           .st:::0
           :::J
           <( I-                Uninsured Motorist (46)        0   A7110 Personal Injury/Property Damage/Wrongful Death - Uninsured Motorist                    1, 4, 11



                                     Asbestos (04)
                                                               0   A6070 Asbestos Property Damage
                                                                                                                                                                1, 11

           ~t:::
                                                               0   A7221 Asbestos - Personal Injury/Wrongful Death
                                                                                                                                                                1, 11
               Cl)    0
               c.. l-
               e     ..c:         Product Liability (24)       0   A7260 Product Liability (not asbestos or toxic/environmental)                                1, 4, 11
           ll..      1is
           -
               ~c
                Cl)
                                                               0   A7210 Medical Malpractice - Physicians & Surgeons                                            1, 4, 11
            :::J -
           · - :::J
                                Medical Malpractice (45)
                                                                                                                                                                1, 4, 11
           -C:
           iii
                     -C>
                      C:                                       0   A7240 Other Professional Health Care Malpractice
               C:     e
               0     ~
            ~
               Cl)   al                                        0   A7250 Premises Liability (e.g., slip and fall)                                               1, 4, 11
                                    Other Personal
           ll..
            .... ns
            Cl)  E
                      C>
                                    Injury Property            0   A7230 Intentional Bodily Injury/Property Damage/Wrongful Death (e.g.,
                                                                                                                                                                1, 4, 11
           ..c: ns                 Damage Wrongful                       assault, vandalism, etc.)
           c5c                                                                                                                                                  1, 4, 11
                                      Death (23)               0 A7270      Intentional Infliction of Emotional Distress
                                                                                                                                                                1, 4, 11
                                                               D A7220      Other Personal Injury/Property Damage/Wrongful Death




          LACIV 109 (Rev 2/16)                              CIVIL CASE COVER SHEET ADDENDUM                                                                  Local Rule 2.3
          LASC Approved 03-04                                  AND STATEMENT OF LOCATION                                                                       Page 1 of 4
                                                                                                                                                                                  h.
                                                                                                                                                            American LegalNet, Inc.
                                                                                                                                                            www.FormsWorkFlow.com ~
                             Case 2:21-cv-06768 Document 1 Filed 08/20/21 Page 51 of 66 Page ID #:51
SHORT TITLE:                                                                                                  CASE NUMBER
John Doe v. California State University

                                        A                                                             B                                               C Applicable
                             Civil Case Cover Sheet                                            Type of Action                                      Reasons - See Step 3
                                   Category No.                                               (Check only one)                                           Above

                                Business Tort (07)          0     A6029 Other Commercial/Business Tort (not fraud/breach of contract)               1, 2, 3

    ~t:::
        Q)          0            Civil Rights (08)          0A6005 Civil Rights/Discrimination                                                      1, 2, 3

    ...
        c..1-
        0 ..c:
    a. ns
       Q)
                   -             Defamation (13)            0     A6010 Defamation (slander/libel)                                                  1, 2, 3
    ~~
   ·--
    -
        :::J
        C:
                    :::J
                    C>              Fraud (16)              0     A6013 Fraud (no contract)                                                         1, 2, 3
    "iii            eC:
    g~                                                                                                                                             1, 2, 3
    ~cil                                                    0     A6017 Legal Malpractice
    Q) C>                  Professional Negligence (25)
    a. ns
        c:o         E
                                                            D A6050      Other Professional Malpractice (not medical or legal)                     1, 2, 3
                    ns
    zc
                                    Other (35)              0     A6025 Other Non-Personal Injury/Property Damage tort                              1, 2, 3


          -   E
               C:
               Q)

              >,
                            Wrongful Termination (36)       0     A6037 Wrongful Termination                                                        1, 2, 3


               0                                            0     A6024 Other Employment Complaint Case                                            1, 2, 3
          ci..                Other Employment (15)
          E                                                 0     A6109 Labor Commissioner Appeals                                                 10
          w

                                                            0     A6004 Breach of Rental/Lease Contract (not unlawful detainer or wrongful
                                                                                                                                                   2,5
                                                                        eviction)
                           Breach of ContracU Warranty
                                       (06)
                                                            D A6oo8       ContracUWarranty Breach -Seller Plaintiff (no fraud/negligence)          2,5

                                 (not insurance)            [gi   A6019 Negligent Breach of Contract/Warranty (no fraud)                           1, 2, 5
                                                                                                                                                   1, 2, 5
                                                            0     A6028 Other Breach of Contract/Warranty (not fraud or negligence)

          t,                                                                                                                                       5, 6, 11
              ...                                           0     A6002 Collections Case-Seller Plaintiff
          -
          ns

          u
               C:
               0
                                 Collections (09)
                                                            0
                                                            0
                                                                  A6012 Other Promissory Note/Collections Case
                                                                  A6034 Collections Case-Purchased Debt (Charged Off Consumer Debt
                                                                                                                                                   5, 11
                                                                                                                                                   5, 6, 11
                                                                        Purchased on or after January 1, 2014)

                             Insurance Coverage (18)        0     A6015 Insurance Coverage (not complex)                                            1, 2, 5, 8

                                                            0     A6009 Contractual Fraud                                                          1, 2, 3, 5
                                Other Contract (37)         0     A6031 Tortious Interference                                                      1, 2, 3, 5
                                                            0     A6027 Other Contract Dispute(not breach/insurance/fraud/negligence)              1, 2, 3, 8, 9

                             Eminent Domain/Inverse
                               Condemnation (14)            0     A7300 Eminent Domain/Condemnation               Number of parcels _ _ _          2,6

          ~
          Q)                  Wrongful Eviction (33)        0     A6023 Wrongful Eviction Case                                                     2,6
          ...
          a.
               C.
               0

          "iii                                              0     A6018 Mortgage Foreclosure                                                       2,6
           Q)
          0::                Other Real Property (26)       0     A6032 Quiet Title                                                                2,6

                                                            0     A6060 Other Real Property (not eminent domain, landlord/tenant, foreclosure)     2,6

              ...
               Q)
                           Unlawful Detainer-Commercial
                                                            0     A6021 Unlawful Detainer-Commercial (not drugs or wrongful eviction)              6, 11
                                       (31)

          -
               C:
          "iii
               Q)          Unlawful Detainer-Residential
          C                                                 0     A6020 Unlawful Detainer-Residential (not drugs or wrongful eviction)             6, 11
                                       (32)
          :i
          l"E                   Unlawful Detainer-
                               Post-Foreclosure (34)
                                                            D A6020F Unlawful Detainer-Post-Foreclosure                                            2, 6, 11
          ::::,
                           Unlawful Detainer-Drugs (38)     D A6022 Unlawful Detainer-Drugs                                                        2, 6, 11

  LACIV 109 (Rev 2/16)                                     CIVIL CASE COVER SHEET ADDENDUM                                                       Local Rule 2.3
  LASC Approved 03-04                                         AND STATEMENT OF LOCATION                                                            Pa e 2 of4
                                                                                                                                                                   h.
                                                                                                                                                 American LegalNet, Inc.
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                            Case 2:21-cv-06768 Document 1 Filed 08/20/21 Page 52 of 66 Page ID #:52
SHORT TITLE:                                                                                                CASE NUMBER
John Doe v. California State University

                                        A                                                           B                                 C Applicable
                             Civil Case Cover Sheet                                           Type of Action                        Reasons - See Step 3
                                   Category No.                                              (Check only one)                             Above


                              Asset Forfeiture (05)         0   A6108 Asset Forfeiture Case                                        2, 3,6

                            Petition re Arbitration (11)    0   A6115 Petition to Compel/ConfirmNacate Arbitration                 2,5


                                                            0   A6151 Writ - Administrative Mandamus                               2,8
                               Writ of Mandate (02)         0   A6152 Writ - Mandamus on Limited Court Case Matter                 2

                                                            0   A6153 Writ - Other Limited Court Case Review                       2


                            Other Judicial Review (39)      0   A6150 Other Writ /Judicial Review                                  2,8


            C:            Antitrust/Trade Regulation (03)   0   A6003 Antitrust/Trade Regulation                                   1, 2, 8
            0
         ,ii
            C)
         :;::::;
                             Construction Defect (10)       0   A6007 Construction Defect                                          1, 2, 3
         ::i
          ~
         c..
                            Claims Involving Mass Tort
                                       (40)
                                                            0   A6006 Claims Involving Mass Tort                                   1, 2, 8
            E
            0
         u                   Securities Litigation (28)     0   A6035 Securities Litigation Case                                   1, 2, 8
         2'
         iii
            C:
            0
                                    Toxic Tort
                                Environmental (30)
                                                            0   A6036 Toxic Tort/Environmental                                     1, 2, 3, 8
         ·;;;
         -~
         a..
                           Insurance Coverage Claims
                             from Complex Case (41)
                                                            0   A6014 Insurance Coverage/Subrogation (complex case only)           1, 2, 5, 8


                                                            0   A6141 Sister State Judgment                                        2, 5, 11

    --
     c:
     Q)
     E  E
     Q) C)
                   C:
                   Q)

                                   Enforcement
                                                            0
                                                            0
                                                                A6160 Abstract of Judgment

                                                                A6107 Confession of Judgment (non-domestic relations)
                                                                                                                                   2,6
                                                                                                                                   2,9
     u
    ...
    .2 -,
                "O
                   :::J          of Judgment (20)           0   A6140 Administrative Agency Award (not unpaid taxes)               2,8
    C: -0
    W                                                       0   A6114 Petition/Certificate for Entry of Judgment on Unpaid Tax     2,8
                                                            0   A6112 Other Enforcement of Judgment Case                           2, 8, 9

                                    RICO (27)               0   A6033 Racketeering (RICO) Case                                     1, 2, 8
     rn   J!!
     :::J C:
     o·-
     a, .!!!                                                0 A6030     Declaratory Relief Only                                    1, 2, 8
     C:            C.
    .!!! E
    -              0            Other Complaints            0 A6040     Injunctive Relief Only (not domestic/harassment)           2,8
     ~u                     (Not Specified Above) (42)      0 A6011    Other Commercial Complaint Case (non-tort/non-complex)      1, 2, 8
     rn -
    :!E :~
        u                                                   D A6ooo    Other Civil Complaint (non-tort/non-complex)                1, 2, 8

                             Partnership Corporation
                                Governance (21)
                                                            0   A6113 Partnership and Corporate Governance Case                    2,8


                                                            0   A6121 Civil Harassment                                             2, 3, 9
     rn rn
     :::J
     0
                   C:
                   O
                                                            0   A6123 Workplace Harassment                                         2, 3, 9
     Q) · -
     c
    .!!!
        :!::
                a,             Other Petitions (Not
                                                            0   A6124 Elder/Dependent Adult Abuse Case                             2, 3, 9
    a; a..
    U=
    rn >
                              Specified Above) (43)         0   A6190 Election Contest                                             2
    :!Eu                                                    0   A6110 Petition for Change of Name/Change of Gender
                                                                                                                                   2, 7
                                                            0   A6170 Petition for Relief from Late Claim Law
                                                                                                                                   2, 3, 8
                                                            0   A6100 Other Civil Petition
                                                                                                                                   2,9


  LACIV 109 (Rev 2/16)                                      CIVIL CASE COVER SHEET ADDENDUM                                      Local Rule 2.3
  LASC Approved 03-04                                          AND STATEMENT OF LOCATION                                           Page 3 of4
                                                                                                                                                   h.
                                                                                                                                 American LegalNet, Inc.
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                   Case 2:21-cv-06768 Document 1 Filed 08/20/21 Page 53 of 66 Page ID #:53
SHORT TITLE:                                                                                               CASE NUMBER
John Doe v. California State University



Step 4: Statement of Reason and Address: Check the appropriate boxes for the numbers shown under Column C for the
               type of action that you have selected. Enter the address which is the basis for the filing location, including zip code.
               (No address required for class action cases).

                                                                                              ADDRESS:
    REASON:                                                                                   401 Golden Shore
   D   1.    r8l 2. D   3.   D 4. r8J s. D 6. D   1.   D    a.   D   9.   D   10.   D   11.




    CITY:                                          STATE:            ZIP CODE:
   Long Beach                                     CA                 90802


Step 5: Certification of Assignment: I certify that this case is properly filed in theCentral District                   District of
               the Superior Court of California, County of Los Angeles [Code Civ. Proc., §392 et seq., and Local Rule 2.3(a)(1)(E)].




  Dated:July 12, 2021

                                                                                                         Mark M. Hathaway


  PLEASE HAVE THE FOLLOWING ITEMS COMPLETED AND READY TO BE FILED IN ORDER TO PROPERLY
  COMMENCE YOUR NEW COURT CASE:
        1.     Original Complaint or Petition.

        2.     If filing a Complaint, a completed Summons form for issuance by the Clerk.
        3.     Civil Case Cover Sheet, Judicial Council form CM-010.

        4.     Civil Case Cover Sheet Addendum and Statement of Location form, LACIV 109, LASC Approved 03-04 (Rev.
               02/16).
        5.      Payment in full of the filing fee, unless there is court order for waiver, partial or scheduled payments.
        6.     A signed order appointing the Guardian ad Litem, Judicial Council form CIV-010, if the plaintiff or petitioner is a
               minor under 18 years of age will be required by Court in order to issue a summons.
        7.     Additional copies of documents to be conformed by the Clerk. Copies of the cover sheet and this addendum
               must be served along with the summons and complaint, or other initiating pleading in the case.




  LACIV 109 (Rev 2/16)                            CIVIL CASE COVER SHEET ADDENDUM                                           Local Rule 2.3
  LASC Approved 03-04                                AND STATEMENT OF LOCATION                                                Page 4 of4
                                                                                                                                              h.
                                                                                                                            American LegalNet, Inc.
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Case 2:21-cv-06768 Document 1 Filed 08/20/21 Page 54 of 66 Page ID #:54
               Case 2:21-cv-06768 Document 1 Filed 08/20/21 Page 55 of 66 Page ID #:55
                                                                                                     Reserved for Clerks Fda Stamp
                   SUPERIOR COURT OF CALIFORNIA
                      COUNTY OF LOS ANGELES
   COURTHOUSE ADDRESS:
                                                                                                              FILED
  Stanley Mosk Courthouse                                                                           &iparicr Citt f Ck(cNiia
  111 North Hill Street, Los Angeles, CA 90012                                                       Cintyof Anee
                                                                                                          07/12/2021
                       NOTICE OF CASE ASSIGNMENT                                           iR C1 Ex xO& OetcCots
                                                                                                              R. Pem
                           UNLIMITED CIVIL CASE

                                                                                     CASE NUMBER:
   Your case is assigned for all purposes to the judicial officer indicated below.   21 STCV2551 8

                            THIS FORM IS TO BE SERVED WITH THE SUMMONS AND COMPLAINT

                 ASSIGNED JUDGE              DEPT      ROOM                    ASSIGNED JUDGE                       DEPT         ROOM
    v’    Theresa M.Traber                   47




    Given to the Plaintiff/Cross-ComplainantlAttorney of Record   Sherri R. Carter, Executive Officer I Clerk of Court
    on 07/13/2021                                                          By R. Perez                                               Deputy Clerk
                  (Date)
LACIV 190 (Rev 6/18)        NOTICE OF CASE ASSIGNMENT                    -   UNLIMITED CIVIL CASE
LASC Approved 05/06
                Case 2:21-cv-06768 Document 1 Filed 08/20/21 Page 56 of 66 Page ID #:56
                                    INSTRUCTIONS FOR HANDLING UNLIMITED CIVIL CASES

 The following critical provisions of the California Rules of Court, Title 3, Division 7, as applicable in the Superior Court, are summarized
 for your assistance.

 APPLICATION
 The Division 7 Rules were effective January 1, 2007. They apply to all general civil cases.

 PRIORITY OVER OTHER RULES
 The Division 7 Rules shall have priority over all other Local Rules to the extent the others are inconsistent.

CHALLENGE TO ASSIGNED JUDGE
A challenge under Code of Civil Procedure Section 170.6 must be made within 15 days after notice of assignment for all purposes
to a judge, or if a party has not yet appeared, within 15 days of the first appearance.

TIME STANDARDS
Cases assigned to the Independent Calendaring Courts will be subject to processing under the following time standards:

COMPLAINTS
All complaints shall be served within 60 days of filing and proof of service shall be filed within 90 days.

CROSS-COMPLAINTS
Without leave of court first being obtained, no cross-complaint may be filed by any party after their answer is filed. Cross-
complaints shall be served within 30 days of the filing date and a proof of service filed within 60 days of the filing date.

STATUS CONFERENCE
A status conference will be scheduled by the assigned Independent Calendar Judge no later than 270 days after the filing of the
complaint. Counsel must be fully prepared to discuss the following issues: alternative dispute resolution, bifurcation, settlement,
trial date, and expert witnesses.

FINAL STATUS CONFERENCE
The Court will require the parties to attend a final status conference not more than 10 days before the scheduled trial date. All
parties shall have motions in limine, bifurcation motions, statements of major evidentiaiy issues, dispositive motions, requested
form jury instructions, special jury instructions, and special jury verdicts timely filed and served prior to the conference. These
matters may be heard and resolved at this conference. At least five days before this conference, counsel must also have exchanged
lists of exhibits and witnesses, and have submitted to the court a brief statement of the case to be read to the jury panel as required
by Chapter Three of the Los Angeles Superior Court Rules.

SANCTIONS
The court will impose appropriate sanctions for the failure or refusal to comply with Chapter Three Rules, orders made by the
Court, and time standards or deadlines established by the Court or by the Chapter Three Rules. Such sanctions may be on a party,
or if appropriate, on counsel for a party.

This is not a complete delineation of the Division 7 or Chapter Three Rules, and adherence only to the above provisions is
therefore not a guarantee against the imposition of sanctions under Trial Court Delay Reduction. Careful reading and
compliance with the actual Chapter Rules is imperative.

 Class Actions
Pursuant to Local Rule 2.3, all class actions shall be filed at the Stanley Mosk Courthouse and are randomly assigned to a complex
judge at the designated complex courthouse. If the case is found not to be a class action it will be returned to an Independent
Calendar Courtroom for all purposes.

*provjsionally Complex Cases
Cases filed as provisionally complex are initially assigned to the Supervising Judge of complex litigation for determination of
complex status. If the case is deemed to be complex within the meaning of California Rules of Court 3.400 et seq., it will be
randomly assigned to a complex judge at the designated complex courthouse. If the case is found not to be complex, it will be
returned to an Independent Calendar Courtroom for all purposes.




LACIV 790 (Rev 6/18)        NOTICE OF CASE ASSIGNMENT— UNLIMITED CIVIL CASE
LASC Approved 05/06
Case 2:21-cv-06768 Document 1 Filed 08/20/21 Page 57 of 66 Page ID #:57
               Case 2:21-cv-06768 Document 1 Filed 08/20/21 Page 58 of 66 Page ID #:58
                                                                                                      Reserved for Clerk’s File Stamp
              SUPERIOR COURT OF CALIFORNIA
                 COUNTY OF LOS ANGELES
 COURTHOUSE ADDRESS:
Stanley Mosk Courthouse
111 North Hill Street, Los Angeles, CA 90012
 PLAINTIFF:
 John Doe
 DEFENDANT:
 California State University, a public university system
                                                                                               CASE NUMBER:
              NOTICE OF CASE MANAGEMENT CONFERENCE                                             21STCV25518
TO THE PLAINTIFF(S)/ATTORNEY(S) FOR PLAINTIFF(S) OF RECORD:

You are ordered to serve this notice of hearing on all parties/attorneys of record forthwith, and meet and confer with all
parties/attorneys of record about the matters to be discussed no later than 30 days before the Case Management Conference.
Your Case Management Conference has been scheduled at the courthouse address shown above on:

                                     Date:                     Time:                  Dept.:
                                             10/18/2021                8:30 AM                  47

NOTICE TO DEFENDANT:            THE SETTING OF THE CASE MANAGEMENT CONFERENCE DOES NOT EXEMPT THE
                                  DEFENDANT FROM FILING A RESPONSIVE PLEADING AS REQUIRED BY LAW.

Pursuant to California Rules of Court, rules 3.720-3.730, a completed Case Management Statement (Judicial Council form #
CM-110) must be filed at least 15 calendar days prior to the Case Management Conference. The Case Management Statement
may be filed jointly by all parties/attorneys of record or individually by each party/attorney of record. You must be familiar with the
case and be fully prepared to participate effectively in the Case Management Conference.

At the Case Management Conference, the Court may make pretrial orders including the following, but not limited to, an order
establishing a discovery schedule; an order referring the case to Alternative Dispute Resolution (ADR); an order reclassifying the
case; an order setting subsequent conference and the trial date; or other orders to achieve the goals of the Trial Court Delay
Reduction Act (Gov. Code, § 68600 et seq.)

Notice is hereby given that if you do not file the Case Management Statement or appear and effectively participate at the Case
Management Conference, the Court may impose sanctions, pursuant to LASC Local Rule 3.37, Code of Civil Procedure
sections 177.5, 575.2, 583.150, 583.360 and 583.410, Government Code section 68608, subdivision (b), and California Rules of
Court, rule 2.2 et seq.


        07/21/2021
Dated: ________________________                                                  ________________________________
                                                                                           Judicial Officer

                                                    CERTIFICATE OF SERVICE

I, the below named Executive Officer/Clerk of the above-entitled court, do hereby certify that I am not a party to the cause
herein, and that on this date I served the Notice of Case Management Conference upon each party or counsel named below:

✔                                                                 Los Angeles
    by depositing in the United States mail at the courthouse in _______________________,   California, one copy of the original
    filed herein in a separate sealed envelope to each address as shown below with the postage thereon fully prepaid.

    by personally giving the party notice upon filing of the complaint.
     Mark McClellan Hathaway
     445 S. Figueroa Street
     31st Floor
     Los Angeles, CA 90071                                                 Sherri R. Carter, Executive Officer / Clerk of Court

        07/21/2021
Dated: __________________                                                                                G. Hironaka
                                                                                                     By ________________________
                                                                                                                 Deputy Clerk
LACIV 132 (Rev. 07/13)                                                                                        Cal. Rules of Court, rules 3.720-3.730
LASC Approved 10-03
                                          NOTICE OF                                                           LASC Local Rules, Chapter 7KUHH
For Optional Use                CASE MANAGEMENT CONFERENCE
        Case 2:21-cv-06768 Document 1 Filed 08/20/21 Page 59 of 66 Page ID #:59
                                                                                  Reserved for Clerk’s File Stamp
            SUPERIOR COURT OF CALIFORNIA
               COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS:
Stanley Mosk Courthouse
111 North Hill Street, Los Angeles, CA 90012
PLAINTIFF/PETITIONER:
John Doe
DEFENDANT/RESPONDENT:
California State University, a public university system
                                                                            CASE NUMBER:
                        CERTIFICATE OF MAILING                              21STCV25518

I, the below-named Executive Officer/Clerk of the above-entitled court, do hereby certify that I am not a
party to the cause herein, and that on this date I served the Notice of Case Management Conference upon
each party or counsel named below by placing the document for collection and mailing so as to cause it to
be deposited in the United States mail at the courthouse in Los Angeles, California, one copy of the original
filed/entered herein in a separate sealed envelope to each address as shown below with the postage
thereon fully prepaid, in accordance with standard court practices.




    Mark McClellan Hathaway
    Hathaway Parker Inc.
    445 S. Figueroa Street
    31st Floor
    Los Angeles, CA 90071




                                                     Sherri R. Carter, Executive Officer / Clerk of Court
Dated: 07/21/2021                                    By:   G. Hironaka
                                                           Deputy Clerk




                                      CERTIFICATE OF MAILING
Case 2:21-cv-06768 Document 1 Filed 08/20/21 Page 60 of 66 Page ID #:60
                               Case 2:21-cv-06768 Document 1 Filed 08/20/21 Page 61 of 66 Page ID #:61
Electronically FILED by Superior Court of California, County of Los Angeles on 07/27/2021 02:14 PM Sherri R. Carter, Executive Officer/Clerk of Court, by E. Gregg,Deputy Clerk
                                                                                                                                                                                   POS-010
           ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Bar number, and address):
                                                                                                                                                         FOR COURT USE ONLY
              MARK M. HATHAWAY. ESQ. (CA Sl3N 151332): JENNA E. PARKER. ESQ. (SBN 303560)
              HATHAWAY PARKER
              445 S. FIGUEROA STREET. 31ST FLOOR
              LOS ANGELES. CA 90071
                         TELEPHONE NO       (213) 529-9000                     FAX NO (Optional)    (213) 529-0783
           E-MAIL ADDRESS /Optional)        mark@hathawayparker.com / jnna(ii}hathawayparker.com
                 ATTORNEY FOR (Name).       PLAINT] FF
           SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
                 STREET ADDRESS          111 N. HILL STREET
                 MAILING ADDRESS:        SAME AS ABOVE
                CITY AND ZIP CODE:       LOS ANGELES, CA 90012
                       BRANCH NAME:      CENTRAL DISTRISCT- STANLEY MOSK COURTHOUSE
                                                                                                                                        CASE NUMBER:
                 PLAINTIFF/PETITIONER: JOHN DOE, an individual

         DEFENDANT/RESPONDENT: CALIFORNIA STATE UNIVERSITY, etc.; et al.                                                                                 21STCV25518
                                                                                                                                       Ref. No. or File No
                                              PROOF OF SERVICE OF SUMMONS
                                                                                                                                                      HATPA-0148562.GE
                                                               (Separate proof of service is required for each patty served.)
         1.      At the time of service I was at least 18 years of age and not a party to this action.
         2.       I served copies of:
                  a.    [;] Summons
                  b.    G2]   Complaint for Damages
                  c.    G2]   Alternative Dispute Resolution (ADR) Information Package
                  d.    D     Civil Case Cover Sheet
                  e.    D     Cross-Complaint
                                                                  NOTICE Of C·A~ E ASS IGNMliNT - UNLIMITED CIVIL CASE; FI RST AMEND l'\D GloNl,RAI, ORIJl~l\ , VOLUNT,\R \ ' EFFlC li,N"j'
                 f.     G2J   Other (specify documents).'         LITIGi\ TION Sl l PULATJONS, ORDER PURSUANT TO CCP I 054(!), EXTENDINll "J'J M E TO RES l' ClND BY 30 UA vs \\'~J EN l'MTIES
                                                                  AGREE TO EARLY ORGANIZATIONAL MEETING STIPULATION

         3.      a. Party served (specify name of party as shown on documents served):
                    CALIFORNIA STA TE UNIVERSITY, a public university system


                 b.     [;] Person (other than the party in item 3a) served on behalf of an entity or as an authorized agent (and not a person
                            under item 5b on whom substituted service was made) (specify name and relationship to the party named in item 3a):
                              WILLIAM HSU, GENERAL COUNSEL
         4.       Addres~ where the party was served: 401 GOLDEN SHORE, LONG BEACH, CA 90802
         5.       I served the party (check proper box)
                 a.     D         by personal service. I personally delivered the documents listed item 2 to the party or person authorized to
                                  receive service of process for the party (1) on (date):                      (2) at (time):
                  b.    ~         by substituted service. On (date): 07/22/2021          at (time): 3:21 PM I left the documents listed in item 2 with or
                                  in the presence of (name and title or relationship to person indicated in item 3):
                                  K. PATRICK (African American, Male, Age 60, 6', 220 Lbs., Bald), OFFICER
                                  (1)     [;]     (business) a person at least 18 years of age apparently in charge at the office or usual place of business
                                                  of the person to be served. I informed him or her of the general nature of the papers.
                                  (2)      D      (home) a competent member of the household (at least 18 years of age) at the dwelling house or usual
                                                  place of abode of the party. I informed him or her of the general nature of the papers.
                                  (3)      D      (physical address unknown) a person at least 18 years of age apparently in charge at the usual mailing
                                                  address of the person to be served, other than a United States Postal Service post office box. I informed
                                                  him or her of the general nature of the papers.
                                  (4)             I thereafter mailed (by first-class, postage prepaid) copies of the documents to the person to be served
                                                  at the place where the copies were left (Code Civ.Proc., § 415.20). I mailed the documents on
                                                  (date) :              from (city) :                          or [;zJ a declaration of mailing is attached.
                                                                                                                                                                                         Page 1 of 2

              Form Adopted for Mandatory Use                                                                                                                        Code of Civil Procedure,§ 417.10
                 Judicial Council of California                       PROOF OF SERVICE OF SUMMONS
              POS-010 [Rev January 1, 2007)
                    Case 2:21-cv-06768 Document 1 Filed 08/20/21 Page 62 of 66 Page ID #:62
                                                                                                      CAS E NUMBER:
      PLAINTIFF/PETITIONER              JOI-IN DO E, an individual

DEFENDANT/RESPONDENT: CALIFORNIA STATE UNIV ERSITY, etc.; et al.                                                  21STCV25518


                    (5)    D        I attach a declaration of diligence stating actions taken first to attempt personal service.
5.   c     D         by mail and acknowledgment of receipt of service. I mailed the documents listed in item 2 to the party, to the
                     address shown in item 4, by first-class mail, postage prepaid,
                    (1) on (date):                                               (2) from (city):

                    (3)   D       with two copies of the Notice and Acknowledgment of Receipt and a postage-paid return envelope addressed
                                  to me. (Attach completed Notice and Acknowledgement of Receipt). (Code Civ. Proc., § 415 .30 .)
                    (4)   D       to an address outside California with return receipt requested.   (Code Civ. Proc.,§ 415.40.)
     d.    D        by other means (specify means of service and authorizing code section) :



           D         Additional page describing service is attached.

6.   The "Notice to the Person Served" (on the summons) was completed as follows:
     a.    D         as an individual defendant.
     b.    D         as the person sued under the fictitious name of (specify) :
     C.    D         as occupant.
     d. ~           On behalf of (specify) : CALIFORNIA STATE UNIVERSITY, a public university system
                    under the following Code of Civil Procedure section:
                                  D 416 .10 (corporation)                    D 415.95 (business organization, form unknown)
                                  D 416.20 (defunct corporation)             D 416.60 (minor)
                                  D 416 .30 Uoint stock company/association) D 416.70 (ward or conservatee)
                                  0     416.40 (association or partnership)       0   416.90 (authorized person)
                                  Q:i   416.50 (public entity)                    0   415.46 (occupant)
                                                                                  D other:
7 . Person who served papers
    a. Name: DEAN M . CARROLL
     b. Address: PO Box 861057 , Los Angeles, California 90086
     c. Telephone number: (213) 975-9850
     d. The fee f9r service was : $ 161.32
     e. I am:

           (1)   D        not a registered California process server.
           (2)   D        exempt from registration under Business and Professions Code section 22350(b).
           (3)   Q:I      registered California process server:
                          (i)      D    owner      D    employee     ~ independent contractor
                          (ii)     Registration No.: 5980
                          (iii)    County: LOS ANGELES

8.    [;2:J    I declare under penalty of perjury under the laws of the State of California that the foregoing is true and correct.
               or
9.    D        I am a California sheriff or marshal and I certify that the foregoing is true and correct.


Date: 7/23/2021

                          DEAN M. CARROLL
          (NAME OF PERSON WHO SERVED PAPERS/SHERIFF OR MARSHAL)




POS-010 [Rev January 1, 2007]                                                                                                         Page 2 of 2
                                                         PROOF OF SERVICE OF SUMMONS
         Case 2:21-cv-06768 Document 1 Filed 08/20/21 Page 63 of 66 FOR
 ATIORNEY OR PARTY WITHOUT ATIORNEY (name end Address)               Page  IDUSE
                                                                        COURT #:63
                                                                                 ONLY
MARK M HA rHIIWAY, ESQ (CA SllN 151312), Jl'NNA le PARKlcR, lcS() (S~N 101560)   (213) 529-9000
HATHAWAY PARKER
445 S. FIGUEROA STRl.!ET. 31 ST FLOOR
LOS ANGELES, CJ\ 90071

 Attorney(s) for: PETITIONER
 Ref: HATPA-0148562.GE
 SUPERIOR COURT FOR THE STATE OF CALIFORNIA FOR THE
COUNTY OF LOS ANGELES                                   , CENTRAL DIS'I RISC l - S'I i\NLEY MOSK COURTI IOUSE

JOHN DOE, an individual
vs. CALIFORNIA STATE UNIVERSITY, etc.; et al.

   PROOF OF MAILING
                                        I DATE:                                  I   TIME:                I DEPT
                                                                                                                   I
                                                                                                                       CASE NUMBER:
                                                                                                                               21STCV25518

At the time of mailing, I was at least 18 years old and not a party to the action


1. I mailed the following documents:
   SUMMONS; COMPLAINT FOR DAMAGES; ALTERNATIVE DISPUTE RESOLUTION (ADR) INFORMATION PACKAGE; NOTICE
   OF CASE ASSIGNMENT- UNLIMITED CIVIL CASE; FIRST AMENDED GENERAL ORDER; VOLUNTARY EFFICIENT
   LITIGATION STIPULATIONS; ORDER PURSUANT TO CCP I 054(a), EXTENDING TIME TO RESPOND BY 30 DAYS WHEN
   PARTIES AGREE TO EARLY ORGANIZATIONAL MEETING STIPULATION

2. (a) Addressed as follows:
   CALIFORNIA STATE UNIVERSITY, a public university system c/o WILLIAM HSU
   401 GOLDEN SHORE
   LONG BEACH, CA 90802



  (b) [8]Business            DResidence              DOther


3. On: 07/23/2021


4. Place:      Los Angeles, California


5- Type of mailing: First Class


6. Person mailing:
  ANNA JIMENEZ
EXPRESS NETWORK
P.O. BOX 861057
LOS ANGELES, CALIFORNIA 90086
(213) 975-9850


7. I declare under penalty of perjury under the laws of the State of California that the foregoing is true and correct.




Date: 07/23/2021




                                                                        PROOF OF MAILING
Case 2:21-cv-06768 Document 1 Filed 08/20/21 Page 64 of 66 Page ID #:64
                       Case 2:21-cv-06768 Document 1 Filed 08/20/21 Page 65 of 66 Page ID #:65
Electronically FILED by Superior Court of California, County of Los Angeles on 08/19/2021 01:17 PM Sherri R. Carter, Executive Officer/Clerk of Court, by J. Lara,Deputy Clerk

                                                                                                                                                                 EFS-005-CV
     ATTORNEY OR PARTY WITHOUT ATTORNEY                       STATE BAR NO:     151,332                                                   FOR COURT USE ONLY
     NAME:  Mark M. Hathaway
     FIRM NAME HATHAWAY PARKER
     STREET ADDRESS 445 S. Figueroa Street, 31st Floor

     c1TY: Los Angeles                                                 STATE:   CA     ZIP CODE: 90071

     TELEPHONE NO. (213) 529-9000                                     FAX NO.    (213) 529-0783
     E-MAIL ADDRESS: mark@hathawayparker.com

     ATTORNEY FOR (name): Plaintiff

     SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
      STREET ADDRESS:       111 N. Hill Street
      MAILING ADDRESS
     CITY AND ZIP CODE:       Los Angeles 90012
          BRANCH NAME:      Stanley Mask Courthouse                                                                       CASE NUMBER
                                                                                                                          21STCV25518
               Plaintiff/Petitioner: John Doe
                                                                                                                          JUDICIAL OFFICER:
     DefendanURespondent: California State University
                                                                                                                          Theresa M. Traber

           CONSENT TO ELECTRONIC SERVICE AND NOTICE OF ELECTRONIC                                                         DEPARTMENT:

                             SERVICE ADDRESS                                                                              47




     1.   D       The following party        or    [KJ the attorney for:
          a.    [KJ plaintiff (name): John Doe
          b.    D      defendant (name):
          c.    D      petitioner(name):
          d.    D      respondent (name):
          e.    D      other (describe):

          consents to electronic service of notices and documents in the above-captioned action.




     2. The electronic service address of the person identified in item 1 is (specify):
        mark@hathawayparker.com
        jenna@hathawayparker.com
        documents@hathawayparker.com




     Date: Aug 19, 2021


                         Mark M. Hathaway
                             TYPE OR PRINT NAME




                                                                                                                                                                           Page 1 of2

     Form Approved for Optional Use
     Judicial Council of California
                                       CONSENT TO ELECTRONIC SERVICE AND NOTICE OF ELECTRONIC                                                           Cal. Rules of Court, rule 2.251
                                                                                                                                                                   www.cowts.ca.gov
     EFS-005-CV [Rev. July 1, 2016]                        SERVICE ADDRESS
                                                      (Electronic Filing and Service)
                   Case 2:21-cv-06768 Document 1 Filed 08/20/21 Page 66 of 66 Page ID #:66
                                                                                                                              EFS-005-CV
                                                                                               CAS E NUMBER:
                                                                                               21STCV25518
 CASE NAME: John Doe v. California State University


          (Note: If you serve Consent to Electronic Service and Notice of Electronic Service Address by mail, you should use form
          POS-030, Proof of Service by First-Class Mail-Civil, instead of using this page.)


                                                      PROOF OF ELECTRONIC SERVICE
                           CONSENT TO ELECTRONIC SERVICE AND NOTICE OF ELECTRONIC SERVICE ADDRESS


1. I am at least 18 years old .
     a. My residence or business address is (specify) :
        445 S. Figueroa Street, 31st Floor, Los Angeles, CA 90071




     b. My electronic service address is (specify) :
        adriana@hathawayparker.com




2. I electronically served a copy of the Consent to Electronic Service and Notice of Electronic Service Address as fo llows:
     a. Name of person served : Arthur Hartinger/ Ryan McGinley-Stempel

     b. Electronic service address of person served: ahartinger@publ iclawgroup.com / rmcg inleystempel@publiclawgroup.com

           On behalf of (name or names of parties represented, if person served is an attorney):
           Respondent California State University


     c. On (date) : Aug 19, 2021


     d. At (time) :        1:13 pm


     D        Electronic service of the Consent to Electronic Service and Notice of Electronic Service Address on additional persons is
              described in an attachment.




I declare under penalty of perjury under the laws of the State of California that the foregoing is true and correct.




Date: Aug 19, 2021


Adriana Gutierrez
                (TYPE OR PRINT NAM E OF DECLARA NT)




EFS-005-CV [Rev. July 1, 20 16]                                                                                                     Page 2 of 2
                                  CONSENT TO ELECTRONIC SERVICE AND NOTICE OF ELECTRONIC
                                                      SERVICE ADDRESS
                                                 (Electronic Filing and Service)
